     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 1 of 76




              UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                      GAINESVILLE DIVISION

FAIR FIGHT, INC., et al.,
                                                 Case No. 2:20-CV-00302-SCJ
                   Plaintiffs,

      v.

TRUE THE VOTE, INC., et al.,

                   Defendants,


                DECLARATION OF DR. KENNETH MAYER

      I, Dr. Kenneth Mayer, make the following declaration:

      1.     I was retained by Plaintiffs in this case to provide the expert opinions

set forth in my expert report attached as Exhibit A to this declaration.

      2.     The statements in my expert report, attached as Exhibit A, are true and

correct to the best of my personal knowledge.

      3.     If called as a witness, I will testify to the expert opinions and conclusions

offered in my expert report and the bases for those opinions, all of which are matters

within my personal knowledge.

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.


Executed on this 15th
                 ___ day of May, 2022.
                                                      ___________________
                                                      Dr. Kenneth R. Mayer
Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 2 of 76




                        Exhibit A
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 3 of 76




Fair Fight Inc., et al. v. True the Vote, Inc., et al., Case No. 2:20-CV-00302-SCJ

       United States District Court for the Northern District of Georgia

                  Expert Report of Kenneth R. Mayer, PhD




                                  May 14, 2021
      Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 4 of 76




I.     Introduction

       I have been asked by counsel in this matter to analyze and evaluate files

(referred to herein as the “challenge file”) generated by True the Vote, Inc., that

purport to identify registered voters across 65 counties in Georgia who are allegedly

ineligible to vote because they appear to have moved to a different address, either

out-of-state or to a different county in Georgia, than the address on file with county

election officials.

       True the Vote appears to have attempted to conduct a “record linkage” process

in which names and addresses in Georgia’s statewide file of registered voters (the

“voter file”) are matched to names and addresses in what is commonly referred to as

the National Change of Address (“NCOA”) Registry—a national file of individuals

who have submitted an NCOA request to the U.S. Postal Service. The names and

addresses that “matched” across the voter file and the NCOA Registry were

extracted and placed into True the Vote’s “challenge file,” with each matched record

claiming to represent an ineligible registrant. As I show below, the practice of record

linkage is extremely difficult and error-prone when there are no unique identifiers

that identify the same individual in the files being linked, as is the case here. In fact,

names and addresses are far from unique in the voter file, where over 85,000 name

and address combinations appear more than once. It is possible that True the Vote

relied on data besides the NCOA Registry, given the nonspecific references to

                                            1
      Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 5 of 76




“available government and commercially available information” in its explanation

of methods (see section VIII), but that would not change any of my conclusions,

because the errors in the challenge file are apparent in any case.

      The result is a challenge file generated by True the Vote that is riddled with

errors; has no meaningful checks on the validity of its results; contains false

positives, missing data, incorrect matches, improperly formatted and entered data,

and mistakes in the matching fields; and almost certainly links between an NCOA

record and a different individual in the voter file, registrants who have changed their

names, registrants who clearly have not moved, and individuals who are not

registered to vote in Georgia. The results do not come anywhere close to what would

be required for valid practices in academic studies of election administration

(Ansolabehere and Hersh 2017; Enamorado, Fifield, and Imai. 2019; Huber et al.

2021).

      Moreover, even if True the Vote had identified with 100% accuracy every

registrant who had moved (and it most decidedly has not), the fact that a voter has

moved does not mean that the voter’s eligibility is in question. Tens of thousands of

records in True the Vote’s challenge file show an address near or on a military

installation (including hundreds of records in which the address itself is a military

base), or in or near a municipality with a university. I identified over 55,000

registrants in the challenge file who fall into one of these categories.

                                           2
      Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 6 of 76




      Finally, challenging voters based on an NCOA match alone has a clear

disparate racial effect. Generally, African American voters are more likely to be

incorrectly flagged through these processes, and the disparities in this instance are

exacerbated by the fact that True the Vote has selected only 65 of Georgia’s 159

counties for challenges. I show that the probability that a county was selected for

challenges increases as the percentage of African American registrants within that

county increases. One effect of this bias is that African Americans constitute a much

higher percentage of challenged in-state movers (38.4%) than their representation in

the voter file (29.9%). Because of these racially disproportionate and invalid

challenges to their eligibility, African American registrants are more likely than

white registrants to be deterred from voting altogether.

      In sum, True the Vote has relied on a fundamentally unreliable method using

flawed data, which produced erroneous results with a clear disparate racial effect.

II.   Summary of Conclusions
      My overall conclusions in this report are summarized as follows:

         The data used to construct the challenge file, and the methods used to
         identify registrants who have allegedly moved, are unreliable.

      First, True the Vote’s descriptions of its methodology to conduct the record

linkage are entirely inadequate from an academic or scientific perspective and

provably incorrect. The descriptions lack basic information that would be provided

in any credible effort, such as how the voter file data was matched to the NCOA file,
                                          3
       Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 7 of 76




who performed the match, the date the match was performed, the date the underlying

files were generated, what fields were used to match, whether the records were

matched based on exact or partial matching, whether or how the data were pre-

processed prior to the NCOA match, and how many records were removed from the

list of matched records (and why).

        Second, the matching across the voter file and NCOA file appears to have

been conducted using only a registrant’s first name, last name, and address—a field

triplet with over 85,000 records duplicated at least once in the voter file (e.g., two or

more John Smiths registered at the same address in the voter file). This guarantees

that matching errors will occur: individuals in the NCOA registry will be linked to a

different individual in the voter file.

        Third, True the Vote did not conduct any meaningful checks on the validity

of its data, relying on demonstrably inadequate methods. These included relying on

a printing company, with no apparent experience in analyzing voter files, to review

the matches before printing the challenged voter lists. 10F




        Fourth, the challenge file shows tens of thousands of errors—a result of True

the Vote and its partners failing to adhere to commonly accepted practices in

complex record linkage—including: (1) ensuring that fields used to link voter




1
    OPSEC 0033.
                                           4
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 8 of 76




records in different databases conform with respect to data format, values, and data

type, (2) ensuring that fields used to identify individuals are unique (or as close to

unique as the data permit), and (3) ensuring that the underlying data are accurate,

and checking the validity of the results.

      Fifth, True the Vote’s challenge file contains huge numbers of missing values

for crucial fields. For example, no middle initials or name suffixes are recorded for

anyone in the challenge file. This inevitably increases the number of erroneous

matches because middle names and suffixes provide additional identifying

information and reduce the number of duplicate records. Other examples of missing

or erroneous fields include:

       Over 15,000 records in the challenge file have a missing value for the street

          address where a registrant is alleged to have moved to.

       Over 9,000 records in the challenge file from Henry County incorrectly list

          the municipality name as the registrant’s zip code.

      Finally, True the Vote appears to have received reports on the results of the

matching process that included data on registrants in the challenge file that bears no

conceivable connection to the purported goal of identifying ineligible voters,

including: the percentage of registrants who own a business, median income,

household income distribution, gender, home ownership rates, home values,



                                            5
      Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 9 of 76




charitable giving, marital status, net worth, occupation, political party, religion, and

presence of children in the household.

          The unreliable methods employed in constructing the challenge lists
          generated tens of thousands of obvious errors.

      Keeping in mind that every record in the challenge file purports to identify an

individual who is ineligible to vote, the challenge file contains tens of thousands of

obvious errors, including:

       Duplicated matches to non-unique records in the voter file. In other words,

          the same person in the NCOA file is linked to multiple individuals in the

          voter file, and there is no way to know if the individual in the NCOA

          registry is linked to the same individual in the voter file;

       Registrants who have not moved at all;

       Registrants in the challenge file who are linked to a voter with an entirely

          different name in the voter file;

       Registrants alleged to have moved but who have no new address (a blank

          field);

       Registrants who have already re-registered at their new address; and

       Individuals who are not even registered to vote in Georgia.




                                              6
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 10 of 76




         NCOA data cannot be used to conclude a registrant is ineligible to
         vote.

      Even if the NCOA match process was conducted perfectly (it was not), and

even if the data identified with 100% accuracy voters who have moved (it did not),

the fact that a registrant appears in the NCOA Registry cannot be used to conclude

that these registrants are ineligible to vote. Tens of thousands of registrants in the

challenge file, even if they have actually changed addresses, have plausible reasons

for moving while still retaining their eligibility to vote in Georgia. For example:

       Nearly 23,000 registrants in the challenge file show a new address near (or

         in some cases, on) a military installation.

       Over 34,000 registrants in the challenge file show a new address in or near

         a municipality with a major college or university. The challenge file data

         is consistent with data from Georgia educational authorities regarding the

         colleges and universities that graduating high school seniors are most

         likely to attend.

      Military personnel serving at an installation away from home and college

students moving to attend school are archetypes of legitimate absentee voters.

         True the Vote’s challenges were targeted toward counties with
         disproportionately higher minority populations.

      The challenge file consists of data from only 65 of Georgia’s 159 counties.

Counties in the Atlanta area were more likely to be selected for challenges than

                                          7
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 11 of 76




counties elsewhere in the state. Counties with higher percentages of African

American voters were also more likely to be selected for challenges. Peer-reviewed

research has shown that use of NCOA matching has a disproportionate effect on

minority voters and is more likely to produce inaccurate results for minority voters

compared to white voters.

          Erroneous accusations of unlawful voting or ineligibility impose
          significant costs.

      Allegations of ineligibility deter voting, both by raising the administrative

costs for registrants who must take additional steps to prove their eligibility, and by

increasing the perceived legal risks of voting even if the individual is properly

registered and eligible to vote in Georgia. True the Vote’s mass challenges forced

targeted voters to incur what may be perceived to be a legal risk in voting—even if

they are properly registered and eligible to vote—and will force them to incur the

cost of proving their eligibility and potentially attending a hearing to ensure that their

vote is counted and to avoid suspicion. The political science literature on voting has

conclusively established that these types of costs often deter qualified individuals

from exercising their right to vote, and they weigh most heavily on members of the

electorate who have fewer resources and are least equipped to overcome additional

barriers in the voting process.




                                            8
       Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 12 of 76




III.    Qualifications and Expertise

        I have a Ph.D. in political science from Yale University, where my graduate

training included courses in econometrics and statistics. My undergraduate degree

is from the University of California, San Diego, where I majored in political science

and minored in applied mathematics. I have been on the faculty of the political

science department at the University of Wisconsin-Madison since August 1989. My

curriculum vitae is attached to this report as Appendix C.

        All publications that I have authored and published in the past ten years appear

in my curriculum vitae. Those publications include the following peer-reviewed

journals: Journal of Politics, American Journal of Political Science, Election Law

Journal, Legislative Studies Quarterly, Presidential Studies Quarterly, American

Politics Research, Congress and the Presidency, Public Administration Review,

Political Research Quarterly, and PS: Political Science and Politics. I have also

published in law reviews, including the Richmond Law Review, the UCLA Pacific

Basin Law Journal, and the University of Utah Law Review. My work on campaign

finance has been published in Legislative Studies Quarterly, Regulation, PS:

Political Science and Politics, Richmond Law Review, the Democratic Audit of

Australia, and in an edited volume on electoral competitiveness published by the

Brookings Institution Press. My research on campaign finance has been cited by the



                                            9
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 13 of 76




U.S. Government Accountability Office and by legislative research offices in

Connecticut and Wisconsin.

      My work on election administration has been published in the Election Law

Journal, American Journal of Political Science, Public Administration Review,

Political Research Quarterly, and American Politics Research. I was part of a

research group retained by the Wisconsin Government Accountability Board to

review their compliance with federal mandates and reporting systems under the Help

America Vote Act and to survey local election officials throughout the state. I serve

on the Steering Committee of the Wisconsin Elections Research Center, a unit within

the UW-Madison College of Letters and Science. In 2012, I was retained by the U.S.

Department of Justice to analyze data and methods regarding Florida’s efforts to

identify and remove claimed ineligible noncitizens from the statewide file of

registered voters.

      In the past five years, I have testified as an expert witness in trial or

deposition in the following cases:

Federal: Fair Fight Action v. Raffensperger, No. 1:18-cv-05391-SCJ (N.D. Ga.
       2019); Kumar v. Frisco Independent School District, No. 4:19-cv-00284
       (E.D. Tex. 2019); Vaughan v. Lewisville Independent School District, No.
       4:19-cv-00109 (E.D. Tex. 2019); Dwight, et al. v Raffensperger, No: 1:18-
       cv-2869-RWS (N.D. Ga. 2018); League of Women Voters of Michigan, et al.
       v. Johnson, No. 2:17-cv-14148-DPH-SDD (S.D. Mich. 2018); One Wis.
       Institute, Inc. v. Thomsen 198 F. Supp. 3d 896 (W.D. Wis. 2016); Whitford
       v. Gill, 218 F. Supp. 3d 837 (W.D. Wis. 2016).


                                         10
      Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 14 of 76




State: North Carolina Alliance for Retired Americans et al. v. North Carolina State
       Board of Elections (Wake Cnty., NC); Driscoll v. Stapleton, No. DV 20 0408
       (13th Judicial Ct. Yellowstone Cnty., Mont. 2020); Priorities U.S.A, et al. v.
       Missouri, et al., No. 19AC-CC00226 (Cir. Ct. of Cole Cnty., Mo. 2018).

       Courts consistently have accepted my expert opinions and the basis for

those opinions. No court has ever excluded my expert opinion under Daubert or

any other standard. Courts have cited my expert opinions in their decisions,

finding my opinions reliable and persuasive. See Driscoll v. Stapleton, No. DV 20

0408 (13th Judicial Ct. Yellowstone Cnty., Mont., 2020); Priorities U.S.A., et al. v.

Missouri, et al., No. 19AC-CC00226 (Cir. Ct. Cole Cnty., Mo. 2018); Whitford v.

Gill, 218 F. Supp. 3d 837 (W.D. Wis. 2016); One Wis. Inst., Inc. v. Thomsen, 198 F.

Supp. 3d 896 (W.D. Wis. 2016); Baldus v. Members of Wis. Gov’t Accountability

Bd., 849 F. Supp. 2d 840 (E.D. Wis. 2012); Milwaukee Branch of the NAACP v.

Walker, 851 N.W. 2d 262 (Wis. 2014); Baumgart v. Wendelberger, No. 01-C-0121,

2002 WL 34127471 (E.D. Wis. May 30, 2002).

       I am being compensated at my standard rate of $450 an hour. My

compensation is not dependent on my conclusions.

IV.    Data Sources

       In reaching my opinions in this report, I relied on the following data:

        Excel files that claim to show registered voters in Georgia, with a
         registration address in one of 65 counties, who filed a National Change of
         Address form with the U.S. Postal Service. I refer to the combined data
         including records from all 65 counties as the “challenge file.”

                                          11
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 15 of 76




       Files I understand to have been produced in discovery:

                 a. TrueAppend report of demographic characteristics (OpSec
                    0009-0029);
                 b. December 16, 2020 email from Catherine Engelbrecht to
                    Mark Williams requesting the removal of addresses “that
                    would suggest they are military bases” (OpSec 0032-0033);
                 c. flowchart of data related to the Georgia voter file (OpSec
                    0049-0050);
                 d. graphic appearing to show deceased names associated with
                    two Georgia addresses (OpSec 0059);
                 e. spreadsheet summarizing NCOA data for nine Georgia
                    counties (OpSec 0051);
                 f. spreadsheet with two lines of identifying information about
                    one Georgia individual (OPSEC 0060);
                 g. December 28, 2020 email from Catherine Engelbrecht to Amy
                    Holsworth listing four steps taken to analyze NCOA data (Def
                    TTV 1453); and
                 h. OpSec Group LLC Subpoena - Exhibit A Amended
                    Responses, 12-13.

       A Georgia voter file of registered voters generated December 14, 2020;

       Georgia voter history files for the November 3, 2020 general election and
        the January 5, 2021 special election; and

       The peer reviewed academic literature and other sources cited in this
        report.

I conducted my analyses using Stata SE v. 16.1, a statistical package, and QGIS, an

open source graphical information systems program.




                                        12
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 16 of 76




V.     Analysis

            The False Premise of True the Vote’s Voter Challenges
       Before even turning to the data, I note that the entire effort to identify

allegedly ineligible voters—flawed as it is—is also based on an entirely false set of

premises.

       First, there is no evidence that material numbers of ineligible voters are

casting ballots in Georgia. In particular, the results of the 2020 general election have

been repeatedly confirmed through multiple recounts, and Georgia Secretary of State

Brad Raffensperger declared that an audit of absentee ballots in Cobb County (one

of the counties where True the Vote challenged voter eligibility) failed to identify

even a single fraudulent absentee ballot. 2 1F




       Time after time, the academic literature has found that voter fraud claims are

vastly exaggerated, with no evidence of any material levels of fraud (Minnite 2010;

Eggers, Garro and Grimmer 2021a; Eggers, Garro and Grimmer 2021b). Georgia is

no exception.

       Second, there is no evidence that ineligible registrants remaining on voter lists

leads to invalid voters casting ballots. While all voter lists inevitably contain

“deadwood” of registrations no longer eligible (it is impossible to immediately



2
 Georgia Secretary of State/Georgia Bureau of Investigation, ABM Signature Audit Report. Cast
Number SEB2020-427, December 29, 2020.
                                             13
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 17 of 76




update lists with information from other types of administrative data) there is no

evidence that material numbers of ineligible voters cast ballots. If anything,

registrants are far more likely to be improperly removed by “challenge” practices in

which the eligibility of registrants is questioned than to vote while ineligible

(Merivaki 2020; Brater 2018). And, as I discuss below, list maintenance processes

are far more likely to affect minority voters, who are twice as likely to be improperly

removed (Huber et al. 2021).

      Third, the fundamental premise of True the Vote’s challenge effort is that a

voter who appears to have filed a change of address is ineligible to vote. This premise

is utterly false. As I explain below, the fact that someone has filed a change of

address request does not, by definition, mean that they are no longer eligible to vote

at the address where they are registered.

      True the Vote’s effort to challenge the eligibility of voters was fundamentally

flawed, based on a faulty set of assumptions, conducted with inaccurate data,

sloppily executed, and rife with errors.

          The Data

      True the Vote’s challenge file consists of 250,783 records, each of which

purports to represent a voter who has allegedly moved to a different out-of-county

address and whose eligibility to vote in Georgia was challenged by True the Vote,

through one of its affiliates. Each record consists of a voter’s first name, last name,

                                            14
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 18 of 76




and registration address (with 2 fields for street address, and separate fields for city,

county, state and ZIP code), and the same fields for an address where a voter has

allegedly moved. The challenge file contains records from the 65 counties in which

True the Vote (through its affiliates) submitted voter challenges.

      My understanding is that True the Vote hired a firm that attempted to match

the Georgia voter file with the NCOA Registry in order to compile the challenge

file. As a result, True the Vote included in the challenge file registrants whose name

and address, they claim, matched a name and address in the NCOA Registry for a

voter who has moved out of the state or out of the county where they are currently

registered.

      As I explain below, matching—or more properly, “record linkage”—is the

process of identifying the same individual in different administrative files, “linking”

the records so that the information in each file can be connected to the same

individual. This can be straightforward in cases where there is a unique identifier for

the same individual in both files: i.e., a Social Security number, for example, or a

unique driver’s license number in each file. In such an instance, we can be virtually

certain that the information in both files is attached to the same individual (barring

an entry or administrative error).

      Here, True the Vote is claiming that if an individual in the voter file merely

has the same name and address as someone who has filed an NCOA, then the records

                                           15
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 19 of 76




in each file must be referring to the same person. This process is represented

graphically in Figure 1:




                     Figure 1 – The Record Linkage Process

      The unshaded fields are the name and address fields on which the “matching”

was purportedly conducted. It is crucial to note that these are not unique identifiers,

and as a result we cannot be certain that the matches that occurred are in fact the

same person. This is because the only unique identifier—i.e., the only way to

uniquely identify every individual—is the voter identification number, which is

found only in the Georgia voter file (shaded dark red). This number does not appear

in the NCOA registry, and in fact, there is no unique identifier in the NCOA registry


                                          16
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 20 of 76




at all. It is also crucial to note that additional key identifying information in the voter

file, such as a registrant’s middle name, name suffix, birth year, race, and gender are

not used to match, and the NCOA filer’s new address is not used for matching (all

fields not used for matching are shaded light red).

      To emphasize: True the Vote is purportedly matching first name, last name,

and address combinations alone—none of which are unique identifiers. As a result,

True the Vote is assuming that these matches are always the same person. As I show

below, this is plainly wrong.

      Further, the counties where True the Vote submitted challenges are

conspicuously unrepresentative of the state as a whole. Figure 2 below shows the

counties chosen for NCOA matching (highlighted in red). True the Vote submitted

challenges in most of the counties in the Atlanta area (Forsyth County is the

exception).




                                            17
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 21 of 76




             Figure 2 – Georgia Counties Subjected to NCOA Match

       True the Vote submitted challenges in 65 of Georgia’s 159 counties overall

(38%). The selected counties are concentrated in the northern portion of the state

and in the Atlanta region. Of the eleven counties that immediately surround and

include Atlanta, True the Vote challenged voters’ eligibility in 10 of those counties

(91%). True the Vote also submitted challenges in 17 of the 29 counties (59%) in

the Atlanta Metropolitan Statistical Area. 3 I analyze these patterns further in Section
                                            2F




IX, below.


3
 Twenty-nine County Metropolitan Statistical Area: Atlanta-Sandy Springs-Roswell, GA, Ga.
Dep’t of Cmty. Health,
https://dch.georgia.gov/sites/dch.georgia.gov/files/Atlanta%20Service%20Area%20Map.pdf.
                                                18
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 22 of 76




          Methods

      To analyze the reliability of the challenge file, I linked the records in the file

to the December 14 2020 Georgia voter file, using the voter identification number

in both files (a unique identifier for every individual that is present in both the

challenge file and the voter file).

             True the Vote’s Unreliable NCOA Matching

      Section VI described the process True the Vote appears to have used to

identify registered voters who have filed an NCOA. As I note, record linkage is

difficult (and often inaccurate) when no unique identifiers exist in both files. This is

a well-known problem with voter file matching across states, or matching voter file

data to other administrative files such as the NCOA Registry (Huber et al. 2021;

NASS 2017; Wisconsin Elections Commission 2021; Goel 2020; Merivaki 2020).

      True the Vote’s description of its matching process appears in two places,

both of which give different and inconsistent information about their methods. In

one instance, the process is described as follows:

       OpSec evaluated the challenge requirements of the Georgia code, in
        addition to any specific requirements related to runoff elections.
       OpSec’s representatives met with the Georgia Secretary of State’s
        representatives to confirm the accuracy of its methodology.
       OpSec loaded the Georgia voter registration file into its system, which is
        publicly available
       OpSec compared, using algorithms, queries, and various regression
        techniques, the addresses in the registration file to government and
        commercially available information in order to identify people who have
                                          19
       Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 23 of 76




            either moved out of the county in which they are registered or who live
            outside the State of Georgia.
          OpSec reviewed the results of this comparison and ran algorithms to
           exclude potential students, military, or non-permanent movers. For
           instance, OpSec eliminated addresses associated with college dorms or
           military bases.
          OpSec removed from the list any names that did not meet the standards of
           the Georgia code.
          OpSec reviewed the final results and prepared the final spreadsheet for
           distribution to challengers, counties, and the Georgia Secretary of State. 4
                                                                                    3F




         A second document, a December 28, 2020 email from Catherine Engelbrecht

to multiple recipients, describes the process quite differently: “[A]fter we analyzed

the data through the NCOA, we did the following:

               1. We rescreened the findings through an enhanced NCOA search to
                  remove all identifiable military addresses.
               2. Using the above subset, we then screened through a database called
                  Smarty Streets to complete incomplete address formats, then
                  rescreened again through NCOA.
               3. We ran subset (sic) from #2 through Social Security Death Index to
                  remove any deceased voters on the lest.
               4. We ran subset (sic) from #3 through scripts written to remove any
                  records that appeared to be duplicates.” 54F




         These descriptions do not provide an adequate explanation of any actual

methodology used to conduct the initial match. In the first document, the claim that

OpSec used “algorithms, queries, and various regression techniques” to identify



4
    OpSec Group LLC Subpoena - Exhibit A, Amended Responses, 12-13.
5
    Email, December 28, 2020, Def TTV 1453.
                                            20
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 24 of 76




people in the voter file who have moved is woefully insufficient—one would need

to know, at an absolute minimum, what algorithms, queries and regression

techniques were used, none of which is actually provided. Nor is it clear from the

explanation what “government and commercially available information” was used

to conduct the analysis. The same inadequacies are found where OpSec claims it

used “algorithms to exclude potential students, military, or non-permanent movers,”

which, in addition to being nonsensically ambiguous, is wrong because, as I’ve

found in my review, there remained 397 targeted registrants in the challenge file who

list an address literally on a military base. Further, OpSec provided no information

about how it identified addresses of college or university dorms, or how it “reviewed

the final results.” As I show throughout this report, the tens of thousands of obvious

errors in the challenge file reveal the complete inadequacy of whatever process or

method was actually used, opaque as it is to any outside review.

      In True the Vote’s second alleged description of its processes, phrases like

“analyzed the data through the NCOA,” “enhanced NCOA search,” “rescreened,”

and “ran” are similarly undefined and ambiguous. Moreover, it is not clear how

“deceased voters” were identified, as there is no Social Security data (such as Social

Security numbers, or even full dates of birth) in the Georgia voter file. We further

know that steps 2 and 4 were demonstrably insufficient, as numerous duplicate



                                         21
      Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 25 of 76




records and military addresses remain in the challenge file (see Section IX(A),

below). 65F




       In addition, neither of these descriptions provides information necessary to

properly review legitimate record linkage, such as: the dates the underlying files

were generated, the date the match was conducted, how the individuals in the NCOA

match file were identified, whether the files were linked through exact matching

(requiring a character-for-character match between fields) or some form of

probabilistic matching, 7 whether the matches were generated through a formal
                            6F




NCOA match process (called NCOALINK) 8 or through some other method, 9 or what
                                                 7F                                     8F




fields were used to determine if a match existed. We do not know if True the Vote

included records that did not match exactly, but partially matched, and we do not

have the matching codes returned in an NCOA match, indicating why a record did




6
  Note, by contrast, the five-page 3,900-word description of record linkage methods, data
preparation, and validity checking in Ansolabehere and Hersh (2017, 2-6).
7
  Probabilistic matching (often called “fuzzy matching”) allows matches to include variants of
field values, or matches on a percentage of characters in a field, with the results expressed as a
probability that the match is correct, a false positive, or false negative (Ansolabehere and Hersh
2017, 2).
8
  See U.S. Postal Service, NCOALINK, https://postalpro.usps.com/mailing-and-shipping-
services/NCOALink.
9
  The U.S. Postal Service Guide for NCOA Link allows users to specify matching rules, and
allows for “normalizing” last names to match variants. See U.S. Postal Service, NCOALINK
User’s Technical Reference, Version 10, July 5, 2018,
https://postalpro.usps.com/mnt/glusterfs/2018-07/User_Tech_Info.pdf.

                                                22
      Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 26 of 76




not match, or whether it was a partial match. 10 We do not know how many records
                                                           9F




were removed from the NCOA match file prior to the creation of the challenge file.

Without a detailed description and accounting of the methodology used, the

challenge file cannot be regarded as reliable. 11    10F




       Critically, there is incomplete information about who conducted the match:

access to the NCOA registry is available only to licensed entities who market their

services to businesses or other organizations that submit files for matching or use it

for their own analyses. Several types of licenses are available, and although I do not

have access to the current number of entities with access to the registry, in 2014 the

USPS Inspector General found 515 companies with NCOA license agreements

(USPS 2014, 9). It is not clear if OpSec itself has the requisite licensing, or whether

it engaged another entity to perform the match.

       The likelihood of errors is compounded when different individuals have

similar names or the same name and live at the same address—including, for

example, individuals with name suffixes such as John Smith Sr., Jr., III, etc. As I



10
   The formal NCOA return codes include numerous reasons for nonmatches, many of which
show partial matches on some fields but not others, different middle names, initials in one data
set and full names in the other, different genders, different ZIP codes or a five-digit ZIP code in
one file and a ZIP+4 code in the other, or multiple matches. See U.S. Postal Service, NCOALINK
User’s Technical Reference, Version 10, July 5, 2018, pp. 12-19.
11
   If OpSec relied on a commercial data set such as Lexis/Nexis or a national data analytics firm
to identify movers, much of the address information those sources rely on still comes from the
NCOA Registry, which would result in the same errors and inadequacies I have identified.
                                                 23
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 27 of 76




show below, there are tens of thousands of records in the voter file that contain

duplicate name and address fields, and it is clear that True the Vote has matched one

individual who has submitted an NCOA to multiple individuals with the same name

in the voter file. Importantly, the name fields that True the Vote has apparently used

to conduct the match do not include either middle names or name suffixes (these are

not present in the challenge files).

      The resulting challenge file is therefore wholly unreliable and, as

demonstrated below, has resulted in numerous errors.

             Data Errors

      Even without a full description of the method, it is apparent that the challenge

file contains tens of thousands of errors. These errors include missing data, missing

values in matching fields, anomalous values in matching fields, voters who clearly

have not moved, voters who have not moved out of the county in which they are

registered, and voters who have re-registered at a new address.

                 Missing Data
      The voter file includes identifying information for registrants, including first

name, last name, middle initial or maiden name, suffix (Jr., Sr., III, etc.), and birth

year. The challenge file includes only first name and last name. None of the records

include a middle name or initial or maiden name, suffix, or birth year. As far as I



                                          24
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 28 of 76




have been able to determine, the NCOA-voter file match used only first name, last

name, and address to link the two files (the NCOA file and the Georgia voter file).

      This has led to obvious and myriad errors, because name and address

combinations are not unique in the voter file (or, almost certainly, in the NCOA

Registry). There are 85,219 records in the voter file with at least one duplicate on

the first name, last name, and address triplet (fields which include street address,

apartment number, city and ZIP code). Often these records show multiple

generations living at the same address, with identical first and last names (e.g., John

Smith, John Smith Jr., and John Smith III).

      Matching NCOA data using first name, last name, and address (where there

are duplicate records) to the voter file using first name, last name, and address (where

there are duplicate records) is virtually guaranteed to link the wrong individuals in

the two files. To give a concrete example, the challenge file lists two registrants

named Eric Jones at the same address in Gwinnett County, neither of whom show

an NCOA street address for the location they have moved to. But there are three Eric

Joneses in the voter file at the same address as the two in the challenge file, with

three different birth years and three different middle names, one of whom is a “Jr.”

It is impossible to tell which individual is the correct match because the voter

registration number, birth year, middle name, and suffix fields are not included in

the NCOA file.

                                          25
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 29 of 76




      And, indeed, incorrect links have occurred. The challenge file includes 1,375

records duplicated on the first name, last name, and address triplet. The reason these

duplicated records exist in the challenge file is that all of them link to records in the

voter file that are duplicated on the same fields, even when the records in the voter

file refer to different individuals (based on unique voter registration numbers). At

least one of the duplicated records in the challenge file is almost certainly incorrectly

linked to the voter file: what has happened is that a single name and address in the

NCOA file has linked to multiple individuals in the voter file who have the same

name and address. It is not possible to correct this error in the challenge file, as I am

unable to determine which voter in the voter file (if any) is the correct match to the

NCOA record.

      In total, there are 1,375 duplicated records in the challenge file, and a

disproportionate number of the duplicate records identify racial minorities. While

27.3% of individuals overall in the challenge file are African American, 40.3% of

the individuals in duplicated records are African American.

                 Missing Values in Key Fields

      The challenge file purports to identify Georgia registrants who have moved to

a different address, listing the address in the voter file where a voter is currently

registered and the address from the NCOA Registry where the registrant is claimed

to have moved. However, 15,360 records in the challenge file do not show a street

                                           26
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 30 of 76




address in the “moved to” address fields. Another 27 records show a “moved to”

street address of “general delivery.” True the Vote is claiming that these voters have

moved, but they do not know where the voters are alleged to have moved to.

      This raises two serious problems. First, it strongly suggests an error in the

matching process or NCOA data, and a lack of quality control in compiling records

of allegedly ineligible voters. It is not clear why someone would file an NCOA

without actually entering a new address.

      A second, more serious, issue is that a clerk relying on this data to notify a

voter that their eligibility has been challenged has no way to contact the voter. If a

voter has in fact moved, sending a notification to the old address in the registration

files cannot be forwarded to the new address (as there is none). And sending a

notification to the new address is similarly impossible, as no address is listed. A

challenged registrant (who is identified by registration number) may have no way of

knowing that their eligibility has been challenged.

                Anomalous Values and Obvious Errors

      Many records include obviously incorrect field values. For example, all of the

9,270 records in the Henry County challenge file have erroneous ZIP code data.

Rather than what should be a five- or nine-digit ZIP code, the field shows the

municipality where a voter is registered.



                                            27
      Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 31 of 76




           As another example, the “movedtocity” field in each challenge file shows

different abbreviations and spelling variants for city names, including:

“Charlottesville and “Charlottesvle” VA; “Fort Leavenwrth” and “Fort

Leavenworth” KS; “Twentynin Palms” and “Twentynine Palms,” CA; “Dauphin

Isl” and “Dauphin Island,” AL; “Canal Wnchstr” and “Canal Winchester,” OH;

“”Salt Lake Cty” and “Salt Lake City,” UT; “Jeffersonvlle” and “Jeffersonville,” IN;

“Washingtonvle” and “Washingtonville,” NY; “San Juan Capo” and “San Juan

Capistrano,” CA; and more—I have not compiled a complete listing of all of these

inconsistencies and differences. The origin of these inconsistencies is not clear, but

the errors clearly exist in the NCOA data as none of the errors exist in the registration

data in the voter file.

           Furthermore, in 263 cases, the name of the registrant in the challenge file does

not match the name in the voter file for the registrant with that registration number.

           In five cases, the registration address and “movedstreet1” address in the

challenge file is identical, indicating that the voter has not in fact moved. This raises

further questions about the validity of the NCOA matching process used, as well as

the lack of quality control in reviewing the results (to the extent they were reviewed

at all).

           In 145 cases, the registration address and address the registrant is alleged to

have moved to are in the same county.

                                              28
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 32 of 76




       In 6,377 cases, individuals have re-registered at the address the NCOA match

shows that they have moved to. True the Vote is therefore inexplicably challenging

the eligibility of voters who are registered at their new address.

       In 336 cases, the individual whose eligibility True the Vote is challenging is

not registered to vote in Georgia.

                 Lack of Adequate Data Preparation

       In the absence of a unique identifier in both files that can be linked, record

linkage is a probabilistic process. At the very least, the fields used to link files should

be regularized so that they have a common format. But even that did not occur here.

       For example, an immediate problem is that the address fields in the challenge

file do not match the address fields in the voter file. The challenge file lists

“registrationstreet1” and “registrationstreet2” for the street address of a registrant.

“registrationstreet2” appears to be an apartment or unit number. The voter file uses

entirely different fields, splitting the registrant’s street address into house number,

street name, street suffix, and apartment or unit number fields.

       I located 41,691 records in the challenge file that have a value in the

“registrationstreet2” field (which is, again, presumably an apartment or unit

number), but several of those values are not valid: five are recorded as missing rather

than blank, one is recorded as either a spreadsheet cell reference or a typographical

error (“=g16”), one is recorded as an en dash (“-”), and another is recorded as “Null.”

                                            29
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 33 of 76




                 Challenge File Addresses Near or on Military Installations

      One indicator of the fundamental unreliability of True the Vote’s challenge

file is that it includes 397 registrants who are listed as actually living on a military

installation (based on the “movedcity” field). The challenge list includes 41

registrants with an address on Fort Knox, KY; 35 on Fort Bragg, NC; 29 on Fort

Campbell, KY; 23 on Joint Base Lewis McChord, WA; 16 on Fort Stewart, GA; 15

on Fort Meade, MD; 14 on Eglin Air Force Base, FL; 13 on Fort Irwin, CA; 12 on

Camp Lejeune, NC; and nine at the United States Air Force Academy, CO. True the

Vote claims to have removed military addresses from the challenge file, but it clearly

did not. In total, the challenge list includes registrants with an address specifically

on 59 different military installations.

      I also identified registrants who appear in the challenge file as moving to a

city on or in the same standard metropolitan area of a military installation. Appendix

A lists these cities, installation names, and the number of challenged residents in

each, and shows 22,956 registrants who, according to the challenge file, submitted

an NCOA with an address on or near one of 189 military installations.

                 Challenge File Addresses in Municipalities with Universities

      A second common reason for moving to another address is attending a college

or university. In 2018 approximately 60,000 graduating high school seniors in



                                          30
      Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 34 of 76




Georgia enrolled at a college or university within 12 months. 12 This means that at
                                                                         11F




any given time hundreds of thousands of Georgia students are pursuing a post-

secondary degree, many of whom moved away from home temporarily to attend

college. A student living away from home is a classic example of a legitimate

absentee voter.

       I identified cities with four-year colleges and universities, including public

universities in Georgia, Mississippi, Florida, Alabama and Texas; all ACC, SEC,

Big 12, and Big 10 conference schools; Ivy League schools; and schools identified

by the Governor’s Office of Student Achievement as being a top destination of

Georgia high school graduates. 13   12F




       The challenge file shows 35,056 registrants moving to a city where one of

these academic institutions is located. 14 True the Vote claims that removing
                                                13F




addresses in college dorms solves the problem of identifying potential students, but

this is clearly incorrect. 15 According to the American Association of Colleges and
                            14F




12
   State of Georgia, Governor’s Office of Student Achievement, Graduate Outcomes – Year
After High School Graduation, 2018,
https://hsgrad.gosa.ga.gov/noauth/extensions/HighSchoolGraduateOutcome2020/HighSchoolGra
duateOutcome2020.html.
13
   The office tracks the top five destinations for every high school in each county; I tracked the
100 schools with the most top five rankings in 2017-2018 combined, excluding for-profit, online,
and community and technical colleges.
14
   I excluded cities with populations of more than 1 million (New York, Los Angeles, Chicago,
Houston, Phoenix, Philadelphia, San Antonio, San Diego, Dallas, and San Jose).
15
   This also adds yet another unexplained aspect of True the Vote’s method, which is how it
identified the addresses of on-campus housing units nationwide.

                                               31
      Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 35 of 76




Universities, only 13% of first year students at a college or university live on

campus. 16 Appendix B shows these cities, the corresponding institutions, and the
         15F




number of challenged registrants with addresses in these cities.

       In total, I identified 57,534 registrants in the challenge file who appear to have

moved to or near a military installation, or to a municipality with a college or

university. 17 This constitutes 22.9% of the registrants in the challenge file.
               16F




                     Inadequate Data Practices
       The matching process ostensibly utilized by True the Vote does not adhere to

standard practice in political science. An accurate process would, at minimum,

ensure that data fields were conforming, that missing and anomalous values were

identified and corrected, and that implausible matches (such as duplicates and name

changes) were either removed or investigated further to identify possible errors

(Ansolabehere and Hersh 2017; Enamorado, Fifield, and Imai, 2019). As far as I can

tell, none of those practices occurred here. The validation process described in Def

TTV 1453 is wholly inadequate.




16
   See Misconceptions about Today’s College Students, Ass’n Am. Colleges & Univs. (Nov.
2018), https://www.aacu.org/aacu-news/newsletter/2018/november/facts-
figures#:~:text=More%20than%20half%20(57%20percent,actually%20does%2C%20the%20rep
ort%20said.
17
   I placed cities with both a military installation and a college or university in Appendix A, to
avoid double-counting.

                                               32
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 36 of 76




             Eligibility Cannot Be Determined Based on NCOA Matching

       Even if done perfectly, NCOA data cannot be used by itself to determine voter

eligibility. First, as discussed above, the NCOA data are not error-free, and the

companies that conduct NCOA matching note that false positives occur “on a regular

basis.” 18
       17F




       NCOA matching may be one element in the process of a state’s voter list

maintenance (i.e., the practice of regularly updating voter registration files to

identify registrants who are no longer eligible to vote). But states do not use an

NCOA match alone as a reason for removing a voter from the list of registered

voters. The reason is quite simple: NCOA registries are known to produce false

positives (errors occurring when individuals who have not moved are on the

registry), and even voters who have moved can remain eligible to vote in Georgia.

       The academic literature has identified a clear pattern that errors in voter

maintenance processes have a disproportionate effect on minority voters, who are

more likely to be incorrectly removed from voter lists or to be placed in inactive

status because of administrative errors. These errors include being falsely identified

as having moved because of an incorrect NCOA match. Minority registrants are




18
   See Understanding NCOA Processing, NCOA Source,
https://www.ncoasource.com/ncoa_processing.htm.
                                           33
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 37 of 76




twice as likely as white registrants to vote at their registration address after they have

been incorrectly flagged as moving (Huber et al. 2021, 3).

             Distribution of Counties Selected

      True the Vote submitted challenges in 65 counties—less than 39% of the 159

counties in Georgia. Why were these counties selected? I have seen no explanation

from either True the Vote or OpSec. In methodological terms, the mechanism of

choice is unobserved. All we know is that a county was selected, or not selected, for

NCOA matching.

      I can, however, draw some inferences about the collection of counties True

the Vote selected based on patterns in the observed data. For example, it is clear

from Figure 2 that counties in the Atlanta region were more likely to be selected than

counties elsewhere in the state.

      The choice of counties, furthermore, is not representative because counties

with larger shares of African American and other minority voters were more likely

to be selected. True the Vote challenged voters in:

       The three counties with the highest percentage of African American
        registrants;

       Ten of the 20 counties with the highest percentage of African American
        registrants; and

       Only four of the 20 counties with the smallest percentage of African
        American registrants.


                                           34
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 38 of 76




This simple comparison indicates True the Vote was between 2 ½ and 3 times more

likely to challenge voters in counties with high concentrations of African American

voters than counties with low concentrations of African American voters.

      The consequences are apparent: African Americans are a disproportionately

large share of alleged “in-state” movers, i.e., registrants who appear in the challenge

file as moving to a new address in Georgia. Overall, the 2021 voter registration file

shows that 29.9% of registrants are African American. But among alleged in-state

movers in True the Vote’s challenge file, 38.4% are African American.

      A simple multivariate analysis confirms the relationship. Probit is an

appropriate regression technique for binary dependent variables, where the values

are either 0 or 1 (Greene 2012, 688). In this case, a county was either selected for

challenge (1) or not (0). I use the natural log of the total number of registrants

[ln(registrants)] in a county as a control variable. The results are:

                             Table 2 – Probit Estimates

                     Independent Variable: County selected for
                                   Challenge

                  Independent variable                 Coefficient
                                                       .23
                  ln(registrants) in county
                                                       (.08)
                  % African American                   .92
                  registrants in county                (.62)
                  Observations: 159
                  Likelihood ratio χ2: 8,95
                  Standard errors in parentheses
                                           35
      Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 39 of 76




       This analysis shows that the higher a county’s percentage of African

American registrants, the higher the probability that True the Vote selected that

county for voter challenges. While the coefficient for percentage African American

does not meet the traditional threshold for statistical significance, the observed racial

pattern is unlikely to be random. Statistical significance, formally, is a measure of

the probability that the coefficient is non-zero. This probability is estimated using a

quantity called the “t-ratio,” calculated as the coefficient divided by the standard

error. The t-ratio for the coefficient for the percentage of African Americans is 1.48.

This indicates an 86% probability that counties with higher percentages of African

American voters were more likely to be selected for challenges, and the coefficient

estimate remains the most likely value. 19      18F




       Another way of showing the consequences of True the Vote’s county selection

is to examine the marginal effect of changes in the African American share of

registered voters on the estimated probability that a county was selected. For a

county with the mean number of registered voters (48,864), the estimated probability




19
   Statistical significance is often used improperly as a binary threshold for concluding that an
effect is real; or, more properly, that we cannot reject the null hypothesis that a coefficient is zero
(Amrhein, Greenland, and McShane 2019; Wasserstein and Lazar 2016; Wasserstein, Schirm, and
Lazar, 2019).

                                                      36
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 40 of 76




of being selected increases from 39.3% to 63.4% as the African American share of

registered voters increases from 10% to 80%.

      To be clear, I am not making a causal claim that True the Vote selected

counties for challenges because they had a higher percentage of African Americans.

I am making an empirical claim that the effect of True the Vote’s selection process

is that counties with higher percentages of African American registrations were more

likely to be selected for challenges.

      We also know that not every county that True the Vote matched with the

NCOA registry resulted in a challenge. The TrueAppend document (OpSec 0009-

0029) provides some context. This document reports that a file named

“moved_out_of_state_or_county.csv” has been processed and gives a variety of

quantities related to different elements of the file. The report goes on to provide

multiple measures of the “moved_out_of_state_or_county.csv” file output, few of

which have any conceivable connection to any process of identifying ineligible

registrants. Among the categories provided: the percentage of registrants who own

a business, median income, household income distribution, gender, home

ownership, home value, charitable giving, marital status, net worth, occupation,

political party, religion, and presence of children in the household.




                                          37
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 41 of 76




          The Burdens of Registration Challenges on Eligible Voters

      Challenges to voter eligibility impose significant costs on registrants. Under

O.C.G.A. § 21-2-230, challenged voters must “answer the grounds of the challenge”

if they vote in person, and an absentee voter’s ballot is treated as challenged. The

challenged voter is subject to a hearing or other examination, § 21-2-230(g). This

could require the voter to present additional documentation and expend additional

time to prove their eligibility, significantly increasing the costs of voting.

      To evaluate the potential effects of these challenges, I turn first to the models

and methods used to study voter turnout.

             The Cost of Voting
      For at least 60 years, political scientists and economists have accepted the

model of voter turnout as a function of the costs and benefits of voting. As an

intellectual framework, it is canonical.

      The basic model, originally proposed by Riker and Ordeshook (1968, 28),

postulates that the utility of voting is expressed in the following form:

                           Utility of voting = BP – C + D

B is the benefit a voter receives if her candidate wins; P is the probability of a voter

casting the decisive vote; C is a measure of the cost of voting; and D is a theoretical

measure of the non-material satisfaction a voter derives from the act of casting a

ballot (from such sources as participating in an important civic ritual, or compliance

                                           38
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 42 of 76




with the social expectation of voting). The probability that an individual votes rises

as the utility goes up.

       Because the probability that a single vote will be decisive is extremely low

(meaning that BP is very close to zero), theorists have paid attention to the cost side

of the voting calculus (as measured by C). This conceptual relationship prompted

decades of scholarship confirming the broad outlines of the basic theory (Sanders

1980; Rosenstone and Wolfinger 1982; Aldrich 1993; Darmofal 2010; Leighley and

Nagler 2014; Blais et al., 2019). As a rule, increasing the direct or indirect costs

associated with voting—such as through higher information costs, inconvenient

polling place locations or times, long lines, complex administrative processes, or

confusing eligibility requirements—will reduce turnout, both in the aggregate and

in the probability that a given individual votes. Similarly, lowering the costs of

voting—through practices such as convenience voting, election day registration, and

no excuse absentee voting, for instance—will, ceteris paribus, increase turnout. 20       19F




       A clear demonstration of the validity of “cost” considerations is the

connection between socioeconomic status and voter turnout, a relationship

uncontested in the academic literature. Education and income are the most strongly

linked to higher turnout (Leighley and Nagler 2014, 27-29; Ojeda 2018; Burden et



20
  Turnout is a multidimensional phenomenon, and electoral laws have both direct and indirect
effects that are not always immediately apparent and can be unexpected (Burden et al. 2014).
                                               39
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 43 of 76




al. 2014). “The relationship between education and voter turnout,” note Sondheimer

and Green (2010, 174), “ranks among the most extensively documented correlations

in American survey research.” Turnout is also associated with health (Pacheco and

Fletcher 2015; Blakely, Kennedy and Kawachi 2001), unemployment, poverty and

income loss (Rosenstone 1982; Sha and Wichowsky 2018). Higher income and

education levels are also associated with more accurate information about complex

administrative requirements such as what types of photo identification qualify as

voter ID (DeCrescenzo and Mayer 2019).

      Voters better positioned to overcome the costs of compliance with

administrative and regulatory requirements for voting have higher turnout. Voters

less able to overcome those costs are less likely to vote. Leighley   and    Nagler

summarize this effect: the ability to overcome costs occurs “by enhancing

individuals’ cognitive skills (and therefore reducing information costs), by

increasing the gratification that individuals receive from politics (thus increasing

benefits), and by providing (bureaucratic) experience that is useful in dealing with

the costs of voting such as voter registration” (2014, 58-59). Similarly, income

affects turnout via analogous mechanisms: people living in poverty have less time

to expend on nonessential day-to-day activities, while wealthy people are more

likely to live in a context where political engagement is a norm and perceive that

they have higher stakes in election outcomes (2014, 58- 59).

                                        40
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 44 of 76




             The Effects of Voter Challenges

      The Cost of Voting model provides a framework for evaluating the effects of

voter challenges. A voter whose eligibility challenge has been accepted by county

election officials is now in a position of having to affirmatively re-prove their

eligibility, even if they have already voted.

      This is substantially more onerous than the regular process of voter list

maintenance, in which voters who are matched to the NCOA file by state election

authorities and do not respond to a mailing asking them to confirm their registration

status are moved to inactive status; they are automatically restored to active status

the next time they vote, and are removed from the voter rolls only after failing to

vote in two consecutive federal general elections. Moreover, voters whose eligibility

is challenged may perceive a legal risk if they vote, which again dramatically

increases the cost of voting and discourages turnout even if the individual is eligible

(Minnite 2010).

      Further, the standards used to assess the credibility of voter challenges, and

the likelihood that a challenge will be accepted, may vary from one county to

another, and the standards may be applied differently to challenged voters based on

their race. Such inconsistent implementation practices are well established in the

academic literature on election administration (White, Nathan and Faller 2015;

Cobb, Greiner and Quinn 2010; Stewart 2013).

                                          41
        Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 45 of 76




         The political science literature has conclusively established that these types of

administrative costs and burdens reduce the likelihood that a person votes (Sanders

1980; Rosenstone and Wolfinger 1982; Aldrich 1993; Darmofal 2010; Burden et al.

2014; Moynihan and Herd 2010; Leighley and Nagler 2014; Blais et al., 2019;

Cantoni 2020).

VI.      Conclusion

         The following is a summary of the errors in True the Vote’s file of 250,783

challenged registrants:

          No records in the challenge file show registrant middle names or name
           suffixes;

          1,325 records are duplicates, and almost certainly link to the wrong
           registrant in the voter file;

          15,360 records do not list an address to where the registrant has moved;

          9,270 records list a city name in the ZIP code field for a registrant’s
           address;

          263 records have a registrant name that does not match the name in the
           voter file; 21
                        20F




          6,377 records list a registrant who has already re-registered at their new
           address;

          145 records list a registrant who has not moved to a different county;

          397 records list a registrant who has moved to a new address on a military
           installation;

21
     Based on the December 14, 2020 voter file.
                                                  42
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 46 of 76




       22,956 records list a registrant who has moved to a city near a military
        installation;

       34,578 records list a registrant who has moved to a city with a college or
        university;

       336 records list an individual who is not registered to vote in Georgia.

      These errors are precisely the sort that is expected when record linkage in

large administrative files is conducted with non-unique identifiers, and by a source

unfamiliar with the problems inherent in record linkage. The result is a mistake-

prone list that is rife with tens of thousands of obvious errors, and which would be

immediately rejected as unreliable among election administration scholars.

      Moreover, True the Vote’s challenge file unquestionably has a

disproportionate racial impact, with higher probabilities of challenges occurring in

counties with large percentages of African American registrants, and a

disproportionately high percentage of African Americans challenged who have

purportedly moved within Georgia.

      And even if True the Vote could have executed this match with 100%

reliability, the results still would not provide reliable information about whether a

voter is ineligible. Registrants can move to another address, even outside of Georgia,

without losing their eligibility, and the fact that a move appears to have occurred is

not sufficient cause to question a voter’s eligibility.



                                           43
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 47 of 76




      In sum, True the Vote submitted mistake-prone lists of challenged voters,

based on flawed premises, faulty data, and shoddy procedures, which

disproportionately impacts African American voters who are alleged to have moved

in-state to another county. These erroneous mass challenges impose significant costs

on eligible voters who may be forced to affirmatively prove their eligibility, and who

may not even know that their eligibility has been challenged until they try to vote or

after they have voted.




                                         44
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 48 of 76




                                     Sources

Aldrich, John H. 1993. “Rational Choice and Turnout.” American Journal of
      Political Science 37:246-278.

Amrhein, Valentin, Sander Greenland, and Blake McShane. 2019. “Retire
     Statistical Significance.” Nature 567: 305-307.

Ansolabehere, Stephen, and Eitan D. Hersh. 2017. “ADGN: An Algorithm for
     Record Linkage Using Address, Gender, Date of Birth, and Name.”
     Statistics and Public Policy 4:1-10/

Blais, André, Jean-François Daoust, Ruth Dassonneville, Gabrielle Péloquin-
       Skulski. 2019. “What is the Cost of Voting?” Electoral Studies 59:145-157.

Braconnier, Céline, Jean-Yves Dormagen, and Vincent Pons. 2017. “Voter
     Registration Costs and Disenfranchisement: Experimental Evidence from
     France.” American Political Science Review 111:584-604.

Brady, Henry E. and John E. McNulty. 2011, “Turning Out to Vote: The Costs of
      Finding and Getting to the Polling Place.” American Political Science
      Review 105-115-134.

Brater, Jonathan. 2018. Voter Purges: The Risks in 2018. Brennan Center for
      Justice, New York University.

Burden, Barry C., David T. Canon, Kenneth R. Mayer, and Donald P. Moynihan.
     2014. “Election Laws, Mobilization, and Turnout: The Unanticipated
     Consequences of Election Reform.” American Journal of Political Science
     58:95-109.

Cantoni, Enrico. 2020. “A Precinct Too Far: Turnout and Voting Costs.” American
     Economic Journal: Applied Economics 1:61-85.

Darmofal, David. 2010. “Reexamining the Calculus of Voting.” Political
     Psychology 31:149-174.




                                        45
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 49 of 76




DeCrescenzo, Michael G. and Kenneth R. Mayer. 2019. “Voter Identification and
     Nonvoting in Wisconsin – Evidence from the 2016 Election.” Election Law
     Journal 18:342-359.

Eggers, Andrew C., Haritz Garro, and Justin Grimmer. 2021a. “No Evidence for
     Voter Fraud: A Guide to Statistical Claims About the 2020 Election.”
     Manuscript. University of Chicago and Stanford University.

Eggers, Andrew C., Haritz Garro, and Justin Grimmer. 2021b. “Comment on ‘A
     Simple Test for the Extent of Voter Fraud with Absentee Ballots in the 2020
     Presidential Election.” Stanford University, Hoover Institution.

Enamorado, Ted, Benjamin Fifield, and Kosuka Imai. 2019. “Using a Probabilistic
    Model to Assist Merging of Large-Scale Administrative Records.” American
    Political Science Review 113:353-371.

Feder, Catalina, and Michael G. Miller. 2020. “Voter Purges After Shelby.”
      American Politics Research 48:687-692.

Greene, William H. 2012. Econometric Analysis, 7th ed. New York: Prentice Hall.

Herzog, Thomas N., Fritz J. Scheuren, and William E. Winkler. 2007. Data
Quality and Record Linkage Techniques. New York: Springer Verlaug.

Huber Gregory A., Marc Meredith, Michael Morse, and Katie Steele. 2021. “The
      Racial Burden of Voter List Maintenance Errors: Evidence from
      Wisconsin’s Supplemental Movers Poll Books.” Science Advances.
      February 17.

Kim, Seo-young Silvia, Spencer Schneider, and R. Michael Alvarez. 2020.
      “Evaluating the Quality of Changes in Voter Registration Databases.”
      American Politics Research 48:670-676.

Leighley, Jan E. and Jonathan Nagler. 2014. Who Votes Now? Demographics,
      Issues, Inequality, and Turnout in the United States. Princeton: Princeton
      University Press.

Mehrbani, Rudy. 2017. Heritage Fraud Database: An Assessment. Brennan Center
     for Justice. New York University.

                                        46
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 50 of 76




Merivaki, Thessalia. 2020. “Our Voter Rolls Are Cleaner Than Yours: Balancing
     Access and Integrity in Voter List Maintenance.” American Politics
     Research 48:560-570.

Minnite, Lorraine C. 2010. The Myth of Voter Fraud. Ithaca: Cornell University
     Press.

Moynihan, Donald and Pamela Herd. 2010. “Red Tape and Democracy: How
     Rules Affect Citizenship Rights.” The American Review of Public
     Administration 40:654-670.

National Association of Secretaries of State. 2017. NASS Report: Maintenance of
      State Voter Registration Lists – A Review of Relevant Policies and
      Procedures.

Ojeda, Christopher. 2018. “The Two Income-Participation Gaps.” American
       Journal of Political Science 62:813-829.

Pacheco, Julianna, and Jason Fletcher. 2015. “Incorporating Health Into Studies of
      Political Behavior: Evidence for Turnout and Partisanship.” Political
      Research Quarterly 68: 104-116.

Rosenstone, S.J. and R.E. Wolfinger. 1978. “The Effect of Registration Laws on
     Voter Turnout.” American Political Science Review 72 45.

Riker, William H. and Peter C. Ordeshook. 2968. “A Theory of the Calculus of
      Voting.” The American Political Science Review 62:25-42.

Sanders, Elizabeth. 1980. “On the Costs, Utilities, and Simple Joys of Voting.”
      Journal of Politics 42:854-863.

Shah, Paru and Amber Wichowsky. 2019. “Foreclosure’s Fallout: Economic
       Adversity and Voter Turnout.” Political Behavior 41:1099-1115.

Sondheimer, Rachel Milstein and Donald P. Green. 2010. “Using Experiments to
     Estimate the Effects of Education on Voter Turnout.” American Journal of
     Political Science 54:174-189.


                                        47
    Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 51 of 76




U.S.P.S. 2020. National Change of Address Program: Audit Report. Report IT-
       AR-14-010. United States Postal Service, Office of Inspector General.
       September 24.

Wasserstein, Ronald L., and Nicole A. Lazar. 2016. “The ASA’s Statement on p-
      Values: Context, Process, and Purpose.” The American Statistician 70:129-
      133.

Wasserstein, Ronald L., Allen L. Schirm, and Nicole A. Lazar. 2019 “Moving to a
      World Beyond ‘p <0.05’.” The American Statistician 73:1-19.

Wisconsin Elections Commission. 2020. Electronic Registration Information
      Center (ERIC) Movers List Update. February 3, 2021.




                                      48
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 52 of 76




      Appendix A - Challenged Registrants Listed as Moving to City Near or on Military Installation

                                        Number of
 Cities Listed as New Addresses in
                                        Challenged
   Challenge File (Directly from                                   Military Installation Name
                                       Registrants in
           Challenge File)
                                       This Location
Aberdeen Proving Ground, MD                   7         Aberdeen Proving Ground
Aberdeen, MD                                 18         Aberdeen Proving Ground
Alamogordo, NM                               19         Holloman Air Force Base
Alexandria, VA                              386         Pentagon
Altus, OK                                     7         Altus Air Force Base
Anchorage, AK                                63         JB Elmendorf Richardson
Andrews Air Force Base, MD                    7         Andrews Air Force Base
Annandale, VA                                11         Pentagon
Annapolis, MD                                78         Naval Academy
Anniston, AL                                112         Anniston Army Depot, Fort McClellan
Arlington, VA                               259         Pentagon
Augusta, GA                                 972         Fort Gordon, Augusta University
Aurora, CO                                  278         Buckley Air Force Base
Ayer, MA                                      2         Fort Devens
Barksdale Afb, LA                             5         Barksdale Air Force Base
Beale Afb, CA                                 3         Beale Air Force Base
Beaufort, SC                                216         MCAS Beaufort
Bedford, MA                                   6         Hanscom Air Force Base
Bellevue, NE                                 31         Offutt Air Force Base
Bethesda, MD                                 67         Naval Support Activity Bethesda, Walter Reed
Biloxi, MS                                   85         Keesler Air Force Base
Bolling Afb, DC                              10         Bolling Air Force Base
Bremerton, WA                                22         Bremerton Navy Base and Hospital
Burke, VA                                    22         Pentagon
Camp H M Smith, HI                            1         Camp HM Smith
Camp Lejeune, NC                             12         Camp Lejeune
Camp Pendleton, CA                           10         Camp Pendleton
Carlisle, PA                                 28         Army War College
Chambersburg, PA                             23         Letterkenny Army Depot
Charleston Afb, SC                            1         Joint Base Charleston
Charleston, SC                              473         Joint Base Charleston
Chesapeake, VA                              204         NAS Norfolk
Cheyenne, WY                                 25         Warren Air Force Base
Clarksville, TN                             266         Fort Campbell
Colorado Springs, CO                        549         NORAD, USAF Academy

                                                   49
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 53 of 76



Dahlgren, VA                     3          NSWC Dahlgren
Dahlonega, GA                    273        Camp Merrill, University of North Georgia
Daphne, AL                       177        USCG Aviation Training Center
Dayton, OH                       260        Wright-Patterson Air Force Base
Dothan, AL                       191        Fort Rucker
Dover Afb, DE                    2          Dover Air Force Base
Dover, DE                        54         Dover Air Force Base
Dulles, VA                       45         Pentagon
Dyess Afb, TX                    2          Dyess Air Force Base
Edwards, CA                      3          Edwards Air Force Base
Eglin Afb, FL                    14         Eglin Air Force Base
Eielson Afb, AK                  4          Eielson Air Force Base
El Paso, TX                      217        Fort Bliss
Ellsworth Afb, SD                1          Ellsworth Air Force Base
Fairbanks, AK                    17         Eielson Air Force Base
Fairchild Afb, WA                3          Fairchild Air Force Base
Fairchild Air Force Base, WA     1          Fairchild Air Force Base
Fairfax, VA                      100        Pentagon
Fairfield, CA                    27         Travis Air Force Base
Falls Church, VA                 84         Pentagon
Fayetteville, NC                 305        Fort Bragg
Fort Belvoir, VA                 27         Fort Belvoir
Fort Bragg, NC                   35         Fort Bragg
Fort Campbell, KY                29         Fort Campbell
Fort Drum, NY                    2          Fort Drum
Fort George G Meade, MD          10         Fort Meade
Fort Hood, TX                    43         Fort Hood
Fort Irwin, CA                   13         Fort Irwin
Fort Knox, KY                    41         Fort Knox
Fort Leavenworth, KS             11         Fort Leavenworth
Fort Leonard Wood, MO            6          Fort Leonard Wood
Fort Meade, MD                   15         Fort Meade
Fort Mitchell, AL                27         Fort Benning
Fort Riley, KS                   26         Fort Leavenworth
Fort Rucker, AL                  6          Fort Rucker
Fort Sill, OK                    9          Fort Sill
Fort Smith, AR                   30         Fort Chaffee
Fort Stewart, GA                 16         Fort Stewart
Fort Wainwright, AK              5          Fort Wainwright
Fort Walton Beach, FL            71         Eglin Air Force Base
Ft Leavnwrth, KS                 5          Fort Leavenworth
Ft Leonard Wd, MO                5          Fort Leonard Wood

                                       50
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 54 of 76



Ft Mitchell, KY                  3          Fort Mitchell
Ft Wainwright, AK                6          Fort Wainwright
Goodfellow Afb, TX               1          Goodfellow Air Force Base
Goose Creek, SC                  64         Joint Base Charleston
Gulfport, MS                     146        Keesler Air Force Base
Hampton, VA                      146        NAS Norfolk
Hanscom Afb, MA                  5          Hanscom Air Force Base
Harker Heights, TX               24         Fort Hood
Hattiesburg, MS                  67         Camp Shelby Joint Forces Training Center
Havelock, NC                     25         MCAS Cherry Point
Henderson, NV                    258        Nellis Air Force Base
Herndon, VA                      70         Pentagon
Hill Afb, UT                     5          Hill Air Force Base
Holloman Afb, NM                 2          Holloman Air Force Base
Holloman Air Force Base, NM      1          Holloman Air Force Base
Honolulu, HI                     140        Various
Huntsville, AL                   447        UAB Huntsville, Redstone Arsenal
Jacksonville Beach, FL           116        NAS Jacksonville
Jacksonville, AR                 23         Little Rock Air Force Base
Jacksonville, FL                1865        NAS Jacksonville
Jacksonville, NC                 117        MCAS New River, Coastal Carolina University
Jbsa Ft Sam Houston, TX          4          Fort Sam Houston
Joint Base Lewis Mcchord, WA     23         JB Lewis McChord
Joint Base Mdl, NJ               3          Joint Base McGuire-Dix-Lakehurst
Killeen, TX                      167        Fort Hood
Las Vegas, NV                    840        Nellis Air Force Base
Lawton, OK                       40         Fort Sill
Leesburg, VA                     54         Pentagon
Little Rock, AR                  125        Camp Robinson
Lompoc, CA                       12         Vandenberg Air Force Base
Luke Afb, AZ                     1          Luke Air Force Base
Madison, AL                      253        Redstone Arsenal
Manassas, VA                     86         Pentagon
March Air Reserve Base, CA       2          March Air Force Base
Mc Lean, VA                      48         Pentagon
Mcchord Afb, WA                  2          JB Lewis McChord
Mechanicsburg, PA                49         Naval Support Activity Mechanicsburg
Meridian, MS                     46         NAS Meridian
Milton, FL                       211        NAS Pensacola
Minot Afb, ND                    4          Minot Air Force Base
Mobile, AL                       331        USCG Aviation Training Center
Montgomery, AL                   380        Maxwell Gunter Air Force Base, Alabama State

                                       51
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 55 of 76



Navarre, FL                      204        NAS Pensacola
Nellis Afb, NV                   1          Nellis Air Force Base
Newport News, VA                 150        NAS Norfolk
Newport, RI                      11         Naval Station Newport
Norfolk, VA                      206        NAS Norfolk
North Charleston, SC             142        Joint Base Charleston
North Las Vegas, NV              137        Nellis Air Force Base
Oak Harbor, WA                   21         NAS Whidbey
Oceanside, CA                    68         Camp Pendleton
Offutt Afb, NE                   1          Offutt Air Force Base
Ogden, UT                        69         Hill Air Force Base
Oklahoma City, OK                194        Tinker Air Force Base
Omaha, NE                        148        Offutt Air Force Base
Panama City Beach, FL            333        Eglin Air Force Base
Panama City, FL                  450        Eglin Air Force Base
Patrick Afb, FL                  5          Patrick Air Force Base
Patuxent Rvr, MD                 2          NAS Patuxent
Pensacola, FL                    594        NAS Pensacola
Phenix City, AL                  189        Fort Benning
Port Royal, SC                   24         MCRD Parris Island
Portsmouth, VA                   64         Portsmouth Navy Base
Prince George, VA                7          Fort Lee
Quantico, VA                     7          Marine Corps Base Quantico
Radford, VA                      14         Radford Army Ammunition Plant
Rapid City, SD                   31         Ellsworth Air Force Base
Reston, VA                       65         Pentagon
Riverview, FL                    326        MacDill Air Force Base
Saint Augustine, FL              329        NAS Jacksonville
Saint Marys, GA                  41         Kings Bay Naval Base
Saint Petersburg, FL             348        MacDill Air Force Base
San Angelo, TX                   53         Goodfellow Air Force Base
San Antonio, TX                  693        Lackland Air Force Base
San Diego, CA                    470        Various
Savannah, GA                     365        Hunter Army Air Field, Fort Stewart
Scott Afb, IL                    3          Scott Air Force Base
Scott Air Force Base, IL         7          Scott Air Force Base
Seale, AL                        14         Fort Benning
Sewanee, TN                      8          Arnold Air Force Base
Shaw Afb, SC                     1          Shaw Air Force Base
Sheppard Afb, TX                 4          Sheppard Air Force Base
Shirley, MA                      1          Fort Devens
Smiths Sta, AL                   20         Fort Benning

                                       52
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 56 of 76



Smiths Station, AL               17         Fort Benning
Spokane, WA                      68         Fairchild Air Force Base
St Augustine, FL                 373        NAS Jacksonville
St Petersburg, FL                281        MacDill Air Force Base
Sumter, SC                       93         Shaw Air Force Base
Tacoma, WA                       108        Joint Base McChord
Tampa, FL                       1075        MacDill Air Force Base, University of South
                                            Florida
Tomah, WI                        3          Fort McCoy
Travis Afb, CA                   9          Travis Air Force Base
Triangle, VA                     13         Marine Corps Base Quantico
Tucson, AZ                       285        Davis Monthan Air Force Base
Tullahoma, TN                    14         Arnold Air Force Base
Twentynin Plm, CA                10         Fort Irwin
Twentynine Palms, CA             7          Fort Irwin
Usaf Academy, CO                 9          USAF Academy
Valdosta, GA                     294        Moody Air Force Base
Vienna, VA                       35         Pentagon
Virginia Beach, VA               378        NAS Norfolk
Wahiawa, HI                      32         Wheeler Airfield
Warner Robins, GA                518        Warner Robins Air Force Base
Washington, DC                   640        Pentagon
Watertown, NY                    35         Fort Drum
West Point, NY                   17         United States Military Academy
Whiteman Afb, MO                 3          Whiteman Air Force Base
Whiteman Air Force Base, MO      1          Whiteman Air Force Base
Wichita Falls, TX                48         Sheppard Air Force Base
Yorktown, VA                     28         NAS Norfolk
Yuma, AZ                         37         MCAS Yuma




                                       53
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 57 of 76




                  Appendix B - Challenged Registrants Listed as Moving to University Cities

                                         Number of
 Cities Listed as New Addresses in       Challenged
                                                                             Institution Name
           Challenge File               Registrants in
                                          This City
Aiken, SC                                    315          University of South Carolina - Aiken
Albany, GA                                   493          Albany State University
Ames, IA                                      16          Iowa State University
Ann Arbor, MI                                 97          University of Michigan
Asheville, NC                                399          UNC-Asheville
Athens, GA                                  1044          University of Georgia
Atlanta, GA                                 13318         Multiple
Auburn, AL                                   385          Auburn University
Austin, TX                                   761          University of Texas - Austin
Baton Rouge, LA                              247          Louisiana State University
Berea, KY                                     12          Berea College
Berkeley, CA                                  30          UC Berkeley
Birmingham, AL                               987          University of Alabama Birmingham
Blacksburg, VA                                34          Virginia Tech University
Bloomington, IN                               68          Indiana University
Boone, NC                                     44          Appalachian State University
Boulder, CO                                   91          University of Colorado
Brevard, NC                                   84          Brevard College
Cambridge, MA                                 73          Harvard, MIT
Central, SC                                   26          Southern Wesleyan University
Champaign, IL                                 54          University of Illinois
Chapel Hill, NC                              150          University of North Carolina
Charlotte, NC                               1804          UNC Charlotte, Johnson& Wales
Charlottesville, VA                           72          University of Virginia
Charlottesvle, VA                             56          University of Virginia
Chattanooga, TN                              663          University of Tennessee Chattanooga
Chestnut Hill, MA                             3           Boston College
Clemson, SC                                   30          Clemson University
College Park, MD                              13          University of Maryland
College Sta, TX                               22          Texas A&M University
College Station, TX                           22          Texas A&M University
Columbia, MO                                  51          University of Missouri
Columbia, SC                                 639          University of South Carolina, Benedict College
Columbus, OH                                 359          Ohio State University
Commerce, TX                                  3           Texas A&M Commerce
Coral Gables, FL                              22          University of Miami
Coralville, IA                                9           University of Iowa
                                                     54
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 58 of 76



Corvallis, OR                   15         Oregon State University
Dayton, TN                      24         Bryan College
Daytona Beach, FL               245        Bethune-Cookman
Durham, NC                      429        Duke University
East Lansing, MI                25         Michigan State University
Evanston, IL                    45         Northwestern University
Fairfield, AL                   9          Miles College
Fayetteville, AR                71         University of Arkansas
Gainesville, FL                 269        University of Florida
Greensboro, NC                  357        North Carolina A&T
Greenville, SC                  696        Furman University
Harrogate, TN                   2          Lincoln Memorial University
Iowa City, IA                   20         University of Iowa
Ithaca, NY                      25         Cornell University
Itta Bena, MS                   2          Mississippi Valley State University
Jackson, MS                     130        Jackson State University
Jackson, TN                     56         Lane College
Jacksonville, AL                45         Jacksonville State University
Jefferson City, MO              12         Lincoln University
Jefferson City, TN              10         Carson-Newman University
Kennesaw, GA                    716        Kennesaw State University
Knoxville, TN                   604        University of Tennessee
Lakeland, FL                    341        Southeastern University
Lawrence, KS                    37         Kansas University
Lexington, KY                   218        University of Kentucky
Lincoln, NE                     64         University of Nebraska
Louisville, KY                  567        University of Louisville
Lubbock, TX                     59         Texas Tech University
Lynchburg, VA                   66         Liberty University
Madison, WI                     99         University of Wisconsin-Madison
Manhattan, KS                   41         Kansas State
Marianna, FL                    24         Chipola College
Martin, TN                      4          University of Tennessee - Martin
Maryville, TN                   116        Maryville College
Middleton, WI                   11         University of Wisconsin-Madison
Minneapolis, MN                 376        University of Minnesota
Morgantown, WV                  33         West Virginia University
Murfreesboro, TN                369        Middle Tennessee State University
Nashville, TN                   952        Tennessee State, Vanderbilt
New Haven, CT                   58         Yale University
Newberry, SC                    17         Newberry College
Newton, MA                      8          Boston College

                                      55
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 59 of 76



Norman, OK                      53         University of Oklahoma
Notre Dame, IN                  1          University of Notre Dame
Opelika, AL                     167        Auburn University
Orangeburg, SC                  58         South Carolina State University
Orlando, FL                    1114        University of Central Florida
Oxford, MS                      66         University of Mississippi
Palo Alto, CA                   24         Stanford University
Pittsburgh, PA                  317        University of Pittsburgh
Princeton, NJ                   26         Princeton University
Provo, UT                       22         Brigham Young University
Raleigh, NC                     549        North Carolina State University
Rocky Mount, NC                 46         North Carolina Wesleyan University
Saint Cloud, MN                 11         St. Cloud State University
South Bend, IN                  69         University of Notre Dame
Starkville, MS                  52         Mississippi State University
State College, PA               49         Pennsylvania State University
Statesboro, GA                  141        Georgia Southern University
Stillwater, OK                  24         Oklahoma State University
Syracuse, NY                    90         Syracuse University
Talladega, AL                   39         Talladega College
Tallahassee, FL                 699        Florida State University
Tempe, AZ                       95         Arizona State University
Tifton, GA                      103        Abraham Baldwin Agricultural College
Troy, AL                        32         Troy University
Tuscaloosa, AL                  183        University of Alabama
Tuskegee, AL                    15         Tuskegee University
Urbana, IL                      26         University of Illinois
Waco, TX                        36         Baylor University
West Lafayette, IN              41         Purdue University
Williamsburg, KY                4          University of the Cumberlands
Winston Salem, NC               309        Wake Forest University
West Lafayette, IN              41         Purdue University
Williamsburg, KY                4          University of the Cumberlands
Winston Salem, NC               309        Wake Forest University




                                      56
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 60 of 76




                             Appendix C - Mayer CV

                                Kenneth R. Mayer

Department of Political Science
Phone: 608-263-2286
Affiliate, La Follette School of Public Affairs
Email: krmayer@wisc.edu
110 North Hall / 1050 Bascom Mall
University of Wisconsin – Madison
Madison, WI 53706

Education
Yale University, Department of Political Science, Ph.D., 1988.
Yale University, Department of Political Science, M.A., M.Phil.,1987.
University of California, San Diego, Department of Political Science, B.A., 1982.

Positions Held
University of Wisconsin, Madison. Department of Political Science.
      Professor, July 2000-present.
      Associate Professor, June 1996-June 2000.
      Assistant Professor, August 1989-May 1996.
Fulbright-ANU Distinguished Chair in Political Science, Australian National
University (Canberra,     ACT), July-December 2006.
Director, Data and Computation Center, College of Letters and Science, University
      of Wisconsin-Madison, June 1996-September 2003
Consultant, The RAND Corporation, Washington DC, 1988-1994. Conducted
      study of acquisition reform, and the effects of acquisition policy on the
      defense industrial base. Performed computer simulations of U.S. strategic
      force posture and capabilities.
Contract Specialist, Naval Air Systems Command, Washington D.C., 1985-1986.
      Responsible for cost and price analysis, contract negotiation, and contract
      administration for aerial target missile programs in the $5 million - $100
      million range.

Awards
American Political Science Association, State Politics and Policy Section. Award
     for best Journal Article Published in the American Journal of Political
     Science in 2014. Awarded for Burden, Canon, Mayer, and Moynihan,

                                         57
    Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 61 of 76




       “Election Laws, Mobilization, and Turnout.”
Robert H. Durr Award, from the Midwest Political Science Association, for Best
       Paper Applying Quantitative Methods to a Substantive Problem Presented at
       the 2013 Meeting. Awarded for Burden, Canon, Mayer, and Moynihan,
       “Election Laws and Partisan Gains.”
Leon Epstein Faculty Fellow, College of Letters and Science, 2012-2015
UW Housing Honored Instructor Award, 2012, 2014, 2017, 2018
Recipient, Jerry J. and Mary M. Cotter Award, College of Letters and Science,
       2011-2012
Alliant Underkofler Excellence in Teaching Award, University of Wisconsin
       System, 2006
Pi Sigma Alpha Teaching Award, Fall 2006
Vilas Associate, 2003-2004, University of Wisconsin-Madison Graduate School.
2002 Neustadt Award. Awarded by the Presidency Research Group of the
       American Political Science Association, for the best book published on
       the American presidency in 2001. Awarded for With the Stroke of a Pen:
       Executive Orders and Presidential Power.
Lilly Teaching Fellow, University of Wisconsin-Madison, 1993-1994.
Interfraternity Council award for Outstanding Teaching, University of Wisconsin-
       Madison, 1993.
Selected as one of the 100 best professors at University of Wisconsin-Madison,
       Wisconsin Student Association, March 1992.
Olin Dissertation Fellow, Center for International Affairs, Harvard University,
       1987-1988

Service as an Expert Witness
   1. Majority Forward and Gamliel Warren Turner, Sr. v. Ben Hill County
       Board of Elections, et al., No. 1:20-CV-00266-LAG (M.D. Ga), election
       administration (2020).
   2. Pearson et al. v. Kemp et al., No. 1:20-cv-4809-TCB (N.D. Ga), election
       administration (2020)
   3. North Carolina Alliance for Retired Americans et al. v. North Carolina
       State Board of Elections (Wake Cty., NC), absentee ballots (2020).
   4. LaRose et al. v. Simon, No. 62-CV-20-3149 (2d Jud. Dist. Ct., Ramsey
       Cty., MN), absentee ballots (2020).
   5. Michigan Alliance for Retired Americans et al. v Benson et al. No 2020-
       000108-MM (Mich. Court of Claims), absentee ballots (2020).
   6. The New Georgia Project et al. v. Raffensperger et al. No. 1:20-CV-01986-
       EL0052 (N.D. Ga.), absentee ballots (2020).

                                       58
    Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 62 of 76




  7. Driscoll v. Stapleton, No. DV 20 0408 (13th Judicial Ct. Yellowstone Cty.,
      MT), absentee ballots (2020).
  8. The Andrew Goodman Foundation v. Bostelmann, No. 19-cv-955 (W.D.
      Wisc.), voter ID (2020).
  9. Kumar v. Frisco Independent School District et al., No,4:19-cv-00284
      (E.D. Tex.), voting rights (2019).
  10. Fair Fight Action v. Raffensperger No. 1:18-cv-05391-SCJ (N.D. Ga.),
      voting rights (2019)
  11. Vaughan v. Lewisville Independent School District, No. 4:19-cv-00109
      (E.D. Texas), voting rights (2019).
  12. Dwight et al. v Raffensperger, No: 1:18-cv-2869-RWS (N.D. Ga.),
      redistricting, voting rights (2018).
  13. Priorities U.S.A.et al. v. Missouri et al., No. 19AC-CC00226 (Cir. Ct. of
      Cole Cty., MO), voter ID (2018).
  14. Tyson v. Richardson Independent School District, No. 3:18-cv-00212 (N.D.
      Texas), voting rights (2018).
  15. League of Women Voters of Michigan, et al. v. Johnson, No. 2:17-cv-
      14148-DPH-SDD (S.D. Mich.), redistricting (2018).
  16. One Wisconsin Institute, Inc., et al. v. Nichol, et al., 198 F. Supp. 3d 896
      (W.D. Wis.), voting rights (2016).
  17. Whitford et al. v. Gill et al, 218 F. Supp. 3d 837, (W.D. Wis.), redistricting
      (2016).
  18. Milwaukee NAACP et al. v. Scott Walker et. al, N.W.2d 262 (Wis. 2014),
      voter ID (2012).
  19. Baldus et al. v. Brennan et al., 849 F. Supp. 2d 840 (E.D. Wis.),
      redistricting, voting rights (2012).
  20. County of Kenosha v. City of Kenosha, No. 22-CV-1813 (Wis. Cir. Ct.,
      Kenosha Cty.) municipal redistricting (2011).
  21. McComish et al. v Brewer et al.. 2010 WL 2292213 (D. Ariz.),
      campaign finance (2009).
  22. Baumgart et al. v. Wendelberger et al., 2002 WL 34127471 (E.D. Wis.),
      redistricting (2002).

Grants
“A Multidisciplinary Approach for Redistricting Knowledge.” Principal
     Investigator. Co-PIs Adeline Lo (UW Madison, Department of Political
     Science), Song Gao (UW Madison, Department of Geography), and Barton
     Miller and Jin-Yi Cai (UW Madison, Department of Computer Sciences).
     University of Wisconsin Alumni Research Foundation (WARF), and UW

                                        59
    Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 63 of 76




       Madison Office of the Vice Chancellor for Research and Graduate
       Education. July 1, 2020-June 30, 2022. $410,711.
“Analyzing Nonvoting and the Student Voting Experience in Wisconsin.” Dane
       County (WI) Clerk, $44,157. November 2016-December 2017. Additional
       support ($30,000) provided by the Office of the Chancellor, UW-Madison.
Campaign Finance Task Force, Stanford University and New York University,
       $36,585. September 2016-August 2017.
Participant and Board Member, 2016 White House Transition Project, PIs Martha
       Joynt Kumar (Towson State University) and Terry Sullivan (University of
       North Carolina-Chapel Hill).
“How do You Know? The Structure of Presidential Advising and Error Correction
       in the White House.” Graduate School Research Committee, University of
       Wisconsin, $18,941. July 1, 2015-June 30, 2016.
“Study and Recommendations for the Government Accountability Board Chief
       Inspectors’ Statements and Election Incident Report Logs.” $43,234. Co-PI.
       With Barry C. Burden (PI), David T. Canon (co-PI), and Donald Moynihan
       (co-PI). October 2011-May 2012.
“Public Funding in Connecticut Legislative Elections.” Open Society Institute.
       September 2009- December 2010. $55,000.
“Early Voting and Same Day Registration in Wisconsin and Beyond.” Co-PI.
       October 2008- September 2009. Pew Charitable Trusts. $49,400. With Barry
       C. Burden (PI), David T. Canon (Co-PI), Kevin J. Kennedy (Co-PI), and
       Donald P. Moynihan (Co-PI).
City of Madison, Blue Ribbon Commission on Clean Elections. Joyce Foundation,
       Chicago, IL. $16,188. January-July 2008.
“Wisconsin Campaign Finance Project: Public Funding in Connecticut State
       Legislative Elections.” JEHT Foundation, New York, NY. $84,735.
       November 2006-November 2007.
“Does Public Election Funding Change Public Policy? Evaluating the State of
       Knowledge.” JEHT Foundation, New York, NY. $42,291. October 2005-
       April 2006.
“Wisconsin Campaign Finance Project: Disseminating Data to the Academic,
       Reform, and Policy Communities.” Joyce Foundation, Chicago, IL. $20,900.
       September 2005- August 2006.
“Enhancing Electoral Competition: Do Public Funding Programs for State and
       Local Elections Work?” Smith Richardson Foundation, Westport, CT.
       $129,611. December 2002-June 2005
WebWorks Grant (implementation of web-based instructional technologies),
       Division of Information Technology, UW-Madison, $1,000. November

                                       60
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 64 of 76




       1999.
“Issue Advocacy in Wisconsin during the 1998 Election.” Joyce Foundation,
       Chicago, IL. $15,499. April 1999.
Instructional Technology in the Multimedia Environment (IN-TIME) grant,
       Learning Support Services, University of Wisconsin. $5,000. March 1997.
“Public Financing and Electoral Competitiveness in the Minnesota State
       Legislature.” Citizens’ Research Foundation, Los Angeles, CA, $2,000.
       May-November 1996.
“The Reach of Presidential Power: Policy Making Through Executive Orders."
       National Science Foundation (SBR-9511444), $60,004. September 1, 1995-
       August 31, 1998. Graduate School Research Committee, University of
       Wisconsin, $21,965. Additional support provided by the Gerald R. Ford
       Library Foundation, the Eisenhower World Affairs Institute, and the Harry
       S. Truman Library Foundation.
The Future of the Combat Aircraft Industrial Base.” Changing Security
       Environment Project, John M. Olin Institute for Strategic Studies, Harvard
       University (with Ethan B. Kapstein). June 1993-January 1995. $15,000.
Hilldale Student Faculty Research Grant, College of Letters and Sciences,
       University of Wisconsin (with John M. Wood). 1992. $1,000 ($3,000 award
       to student)
“Electoral Cycles in Federal Government Prime Contract Awards” March 1992 –
       February 1995. National Science Foundation (SES-9121931), $74,216.
       Graduate School Research Committee at the University of Wisconsin,
       $2,600. MacArthur Foundation, $2,500.
C-SPAN In the Classroom Faculty Development Grant, 1991. $500

Professional and Public Service
Education and Social and Behavioral Sciences Institutional Review Board, 2008-
       2014. Acting Chair, Summer 2011. Chair, May 2012- June 2014.
Participant, U.S. Public Speaker Grant Program. United States Department of
       State (nationwide speaking tour in Australia, May 11-June 2, 2012).
Expert Consultant, Voces de la Frontera. Milwaukee Aldermanic redistricting,
       (2011).
Expert Consultant, Prosser for Supreme Court. Wisconsin Supreme Court election
       recount (2011).
Chair, Blue Ribbon Commission on Clean Elections (Madison, WI), August
       2007-April 2011.
Consultant, Consulate of the Government of Japan (Chicago) on state politics in
       Illinois, Indiana, Minnesota, and Wisconsin, 2006-2011.

                                       61
    Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 65 of 76




Section Head, Presidency Studies, 2006 Annual Meeting of the American
      Political Science Association.
Co-Chair, Committee on Redistricting, Supreme Court of Wisconsin, November
      2003-December 2009.
Section Head, Presidency and Executive Politics, 2004 Annual Meeting of the
      Midwest Political Science Association, Chicago, IL.
Presidency Research Group (organized section of the American Political Science
      Association) Board, September 2002-present.
Book Review Editor, Congress and the Presidency, 2001-2006.
Editorial Board, American Political Science Review, September 2004-September
      2007.
Consultant, Governor’s Blue Ribbon Commission on Campaign Finance Reform
      (Wisconsin), 1997.

PUBLICATIONS
Books
Presidential Leadership: Politics and Policymaking, 11th edition. Lanham, MD:
      Rowman and Littlefield, 2020. With George C. Edwards, III and Steven J.
      Wayne. Previous editions 10th (2018).
The 2016 Presidential Elections: The Causes and Consequences of an Electoral
      Earthquake. Lanham, MD: Lexington Press, 2017. Co-edited with Amnon
      Cavari and Richard J. Powell.
The Enduring Debate: Classic and Contemporary Readings in American
      Government. 8th ed. New York: W.W. Norton & Co. 2017. Co-edited with
      David T. Canon and John Coleman. Previous editions 1st (1997), 2nd (2000),
      3rd (2002), 4th (2006), 5th (2009), 6th (2011), 7th (2013).
Faultlines: Readings in American Government, 5th ed. New York: W.W. Norton &
      Co. 2017. Co-edited with David T. Canon and John Coleman. Previous
      editions 1st (2004), 2nd (2007), 3rd (2011), 4th (2013).
The 2012 Presidential Election: Forecasts, Outcomes, and Consequences.
      Lanham, MD: Rowman and Littlefield, 2014. Co-edited with Amnon Cavari
      and Richard J. Powell.
Readings in American Government, 7th edition. New York: W.W. Norton & Co.
      2002. Co-edited with Theodore J. Lowi, Benjamin Ginsberg, David T.
      Canon, and John Coleman). Previous editions 4th (1996), 5th (1998), 6th
      (2000).
With the Stroke of a Pen: Executive Orders and Presidential Power. Princeton,
      NJ: Princeton University Press. 2001. Winner of the 2002 Neustadt Award
      from the Presidency Studies Group of the American Political Science
      Association, for the Best Book on the Presidency Published in 2001.
The Dysfunctional Congress? The Individual Roots of an Institutional Dilemma.
                                       62
    Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 66 of 76




     Boulder, CO: Westview Press. 1999. With David T. Canon.
The Political Economy of Defense Contracting. New Haven: Yale University
     Press. 1991.

Monographs
2008 Election Data Collection Grant Program: Wisconsin Evaluation Report.
      Report to the Wisconsin Government Accountability Board, September
      2009. With Barry C. Burden, David T. Canon, Stéphane Lavertu, and
      Donald P. Moynihan.
Issue Advocacy in Wisconsin: Analysis of the 1998 Elections and A Proposal for
      Enhanced Disclosure. September 1999.
Public Financing and Electoral Competition in Minnesota and Wisconsin.
      Citizens’ Research Foundation, April 1998.
Campaign Finance Reform in the States. Report prepared for the Governor’s
      Blue Ribbon Commission on Campaign Finance Reform (State of
      Wisconsin). February 1998. Portions reprinted in Anthony Corrado,
      Thomas E. Mann, Daniel Ortiz, Trevor Potter, and Frank J. Sorauf, ed.,
      Campaign Finance Reform: A Sourcebook. Washington, D.C.: Brookings
      Institution, 1997.
“Does Public Financing of Campaigns Work?” Trends in Campaign Financing.
      Occasional Paper Series, Citizens' Research Foundation, Los Angeles, CA.
      1996. With John M. Wood.
The Development of the Advanced Medium Range Air-to-Air Missile: A Case
      Study of Risk and Reward in Weapon System Acquisition. N-3620-AF.
      Santa Monica: RAND Corporation. 1993.
Barriers to Managing Risk in Large Scale Weapons System Development
      Programs. N-4624-AF. Santa Monica: RAND Corporation. 1993. With
      Thomas K. Glennan, Jr., Susan J. Bodilly, Frank Camm, and Timothy J.
      Webb.

Articles
“The Random Walk Presidency,” Presidential Studies Quarterly 51: 71-95 (2021)
 “Voter Identification and Nonvoting in Wisconsin - Evidence from the 2016
      Election.” Election Law Journal 18:342-359 (2019). With Michael
      DeCrescenzo.
“Waiting to Vote in the 2016 Presidential Election: Evidence from a Multi-county
      Study.” Political Research Quarterly 71 (2019). With Robert M. Stein,
      Christopher Mann, Charles Stewart III, et al.
“Learning from Recounts.” Election Law Journal 17:100-116 (No. 2, 2018). With
      Stephen Ansolabehere, Barry C. Burden, and Charles Stewart, III.
                                       63
    Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 67 of 76




“The Complicated Partisan Effects of State Election Laws.” Political Research
      Quarterly 70:549-563 (No. 3, September 2017). With Barry C. Burden,
      David T. Canon, and Donald P. Moynihan.
“What Happens at the Polling Place: Using Administrative Data to Look Inside
      Elections.” Public Administration Review 77:354-364 (No. 3, May/June
      2017). With Barry C. Burden, David T. Canon, Donald P. Moynihan, and
      Jacob R. Neiheisel.
“Alien Abduction, and Voter Impersonation in the 2012 U.S. General Election:
      Evidence from a Survey List Experiment.” Election Law Journal 13:460-
      475 No.4, December 2014). With John S. Ahlquist and Simon Jackman.
 “Election Laws, Mobilization, and Turnout: The Unanticipated Consequences of
      Election Reform.” American Journal of Political Science, 58:95-109 (No. 1,
      January 2014). With Barry C. Burden, David T. Canon, and Donald P.
      Moynihan. Winner of the State Politics and Politics Section of the American
      Political Science Association Award for the best article published in the
      AJPS in 2014.
“Executive Power in the Obama Administration and the Decision to Seek
      Congressional Authorization for a Military Attack Against Syria:
      Implications for Theories of Unilateral Action.” Utah Law Review
      2014:821-841 (No. 4, 2014).
“Public Election Funding: An Assessment of What We Would Like to Know.” The
      Forum 11:365-485 (No. 3, 2013).
 “Selection Method, Partisanship, and the Administration of Elections.” American
      Politics Research 41:903-936 (No. 6, November 2013). With Barry C.
      Burden, David T. Canon, Stéphane Lavertu, and Donald Moynihan.
 “The Effect of Administrative Burden on Bureaucratic Perception of Policies:
      Evidence from Election Administration.” Public Administration Review
      72:741-451 (No. 5, September/October 2012). With Barry C. Burden,
      David T. Canon, and Donald Moynihan.
 “Early Voting and Election Day Registration in the Trenches: Local Officials’
      Perceptions of Election Reform.” Election Law Journal 10:89-102 (No. 2,
      2011). With Barry C. Burden, David T. Canon, and Donald Moynihan.
“Is Political Science Relevant? Ask an Expert Witness," The Forum: Vol. 8, No.
      3, Article 6 (2010).
“Thoughts on the Revolution in Presidency Studies,” Presidential Studies
      Quarterly 39 (no. 4, December 2009).
“Does Australia Have a Constitution? Part I – Powers: A Constitution Without
      Constitutionalism.” UCLA Pacific Basin Law Journal 25:228-264 (No. 2,
      Spring 2008). With Howard Schweber.

                                       64
    Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 68 of 76




“Does Australia Have a Constitution? Part II: The Rights Constitution.” UCLA
       Pacific Basin Law Journal 25:265-355 (No. 2, Spring 2008). With Howard
       Schweber.
 “Public Election Funding, Competition, and Candidate Gender.” PS: Political
       Science and Politics XL:661-667 (No. 4,October 2007). With Timothy
       Werner.
“Do Public Funding Programs Enhance Electoral Competition?” In Michael P.
       McDonald and John Samples, eds., The Marketplace of Democracy:
       Electoral Competition and American Politics (Washington, DC: Brookings
       Institution Press, 2006). With Timothy Werner and Amanda Williams.
       Excerpted in Daniel H. Lowenstein, Richard L. Hasen, and Daniel P. Tokaji,
       Election Law: Cases and Materials. Durham, NC: Carolina Academic Press,
       2008.
“The Last 100 Days.” Presidential Studies Quarterly 35:533-553 (No. 3,
       September 2005). With William Howell.
“Political Reality and Unforeseen Consequences: Why Campaign Finance Reform
       is Too Important To Be Left To The Lawyers,” University of Richmond
       Law Review 37:1069-1110 (No. 4, May 2003).
“Unilateral Presidential Powers: Significant Executive Orders, 1949-1999.”
       Presidential Studies Quarterly 32:367-386 (No. 2, June 2002). With Kevin
       Price.
“Answering Ayres: Requiring Campaign Contributors to Remain Anonymous
       Would Not Resolve Corruption Concerns.” Regulation 24:24-29 (No. 4,
       Winter 2001).
 “Student Attitudes Toward Instructional Technology in the Large Introductory
       US Government Course.” PS: Political Science and Politics 33:597-604
       (No. 3 September 2000). With John Coleman.
 “The Limits of Delegation – the Rise and Fall of BRAC.” Regulation 22:32-38
       (No. 3, October 1999).
“Executive Orders and Presidential Power.” The Journal of Politics 61:445-466
       (No.2, May 1999).
“Bringing Politics Back In: Defense Policy and the Theoretical Study of
       Institutions and Processes." Public Administration Review 56:180-190
       (1996). With Anne Khademian.
“Closing Military Bases (Finally): Solving Collective Dilemmas Through
       Delegation.” Legislative Studies Quarterly, 20:393-414 (No. 3, August
       1995).
“Electoral Cycles in Federal Government Prime Contract Awards: State-Level
       Evidence from the 1988 and 1992 Presidential Elections.” American

                                       65
    Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 69 of 76




      Journal of Political Science 40:162-185 (No. 1, February 1995).
“The Impact of Public Financing on Electoral Competitiveness: Evidence from
      Wisconsin, 1964-1990.” Legislative Studies Quarterly 20:69-88 (No. 1,
      February 1995). With John M. Wood.
“Policy Disputes as a Source of Administrative Controls: Congressional
      Micromanagement of the Department of Defense.” Public Administration
      Review 53:293-302 (No. 4, July-August 1993).
“Combat Aircraft Production in the United States, 1950-2000: Maintaining
      Industry Capability in an Era of Shrinking Budgets.” Defense Analysis
      9:159-169 (No. 2, 1993).

Book Chapters
“Is President Trump Conventionally Disruptive, or Unconventionally
      Destructive?” In The 2016 Presidential Elections: The Causes and
      Consequences of an Electoral Earthquake. Lanham, MD: Lexington Press,
      2017. Co-edited with Amon Cavari and Richard J. Powell.
“Lessons of Defeat: Republican Party Responses to the 2012 Presidential Election.
      In Amnon Cavari, Richard J. Powell, and Kenneth R. Mayer, eds. The 2012
      Presidential Election: Forecasts, Outcomes, and Consequences. Lanham,
      MD: Rowman and Littlefield. 2014.
“Unilateral Action.” George C. Edwards, III, and William G. Howell, Oxford
      Handbook of the American Presidency (New York: Oxford University
      Press, 2009).
“Executive Orders,” in Joseph Bessette and Jeffrey Tulis, The Constitutional
      Presidency. Baltimore: Johns Hopkins University Press, 2009.
“Hey, Wait a Minute: The Assumptions Behind the Case for Campaign Finance
      Reform.” In Gerald C. Lubenow, ed., A User’s Guide to Campaign Finance
      Reform. Lanham, MD: Rowman & Littlefield, 2001.
“Everything You Thought You Knew About Impeachment Was Wrong.” In
      Leonard V. Kaplan and Beverly I. Moran, ed., Aftermath: The Clinton
      Impeachment and the Presidency in the Age of Political Spectacle. New
      York: New York University Press. 2001. With David T. Canon.
“The Institutionalization of Power.” In Robert Y. Shapiro, Martha Joynt Kumar,
      and Lawrence R. Jacobs, eds. Presidential Power: Forging the Presidency
      for the 21st Century. New York: Columbia University Press, 2000. With
      Thomas J. Weko.
 “Congressional-DoD Relations After the Cold War: The Politics of Uncertainty.”
      In Downsizing Defense, Ethan Kapstein ed. Washington DC: Congressional
      Quarterly Press. 1993.

                                       66
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 70 of 76




“Elections, Business Cycles, and the Timing of Defense Contract Awards in the
      United States.” In Alex Mintz, ed. The Political Economy of Military
      Spending. London: Routledge. 1991.
“Patterns of Congressional Influence In Defense Contracting.” In Robert Higgs,
      ed., Arms, Politics, and the Economy: Contemporary and Historical
      Perspectives. New York: Holmes and Meier. 1990.

Other
“Campaign Finance: Some Basics.” Bauer-Ginsberg Campaign Finance Task
      Force, Stanford University. September 2017. With Elizabeth M. Sawyer.
“The Wisconsin Recount May Have a Surprise in Store after All.” The Monkey
      Cage (Washington Post), December 5, 2016. With Stephen Ansolabehere,
      Barry C. Burden, and Charles Stewart, III.
Review of Jason K. Dempsey, Our Army: Soldiers, Politicians, and American
      Civil-Military Relations. The Forum 9 (No. 3, 2011).
“Voting Early, but Not Often.” New York Times, October 25, 2010. With Barry C.
      Burden.
Review of John Samples, The Fallacy of Campaign Finance Reform and Raymond
      J. La Raja, Small Change: Money, Political Parties, and Campaign Finance
      Reform. The Forum 6 (No. 1, 2008).
Review Essay, Executing the Constitution: Putting the President Back Into the
      Constitution, Christopher S, Kelley, ed.; Presidents in Culture: The
      Meaning of Presidential Communication, David Michael Ryfe; Executive
      Orders and the Modern Presidency: Legislating from the Oval Office, Adam
      L. Warber. In Perspective on Politics 5:635-637 (No. 3, September 2007).
“The Base Realignment and Closure Process: Is It Possible to Make Rational
      Policy?” Brademas Center for the Study of Congress, New York University.
      2007.
“Controlling Executive Authority in a Constitutional System” (comparative
      analysis of executive power in the U.S. and Australia), manuscript, February
      2007.
 “Campaigns, Elections, and Campaign Finance Reform.” Focus on Law Studies,
      XXI, No. 2 (Spring 2006). American Bar Association, Division for Public
      Education.
“Review Essay: Assessing The 2000 Presidential Election – Judicial and Social
      Science Perspectives.” Congress and the Presidency 29: 91-98 (No. 1,
      Spring 2002).
Issue Briefs (Midterm Elections, Homeland Security; Foreign Affairs and Defense
      Policy; Education; Budget and Economy; Entitlement Reform) 2006

                                        67
    Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 71 of 76




      Reporter’s Source Book. Project Vote Smart. 2006. With Meghan Condon.
“Sunlight as the Best Disinfectant: Campaign Finance in Australia.” Democratic
      Audit of Australia, Australian National University. October 2006.
“Return to the Norm,” Brisbane Courier-Mail, November 10, 2006.
“The Return of the King? Presidential Power and the Law,” PRG Report XXVI,
      No. 2 (Spring 2004).
Issue Briefs (Campaign Finance Reform, Homeland Security; Foreign Affairs and
      Defense Policy; Education; Budget and Economy; Entitlement Reform),
      2004 Reporter’s Source Book. Project Vote Smart. 2004. With Patricia
      Strach and Arnold Shober.
“Where’s That Crystal Ball When You Need It? Finicky Voters and Creaky
      Campaigns Made for a Surprise Electoral Season. And the Fun's Just
      Begun.” Madison Magazine. April 2002.
“Capitol Overkill.” Madison Magazine, July 2002.
Issue Briefs (Homeland Security; Foreign Affairs and Defense Policy; Education;
      Economy, Budget and Taxes; Social Welfare Policy), 2002 Reporter’s
      Source Book. Project Vote Smart. 2002. With Patricia Strach and Paul
      Manna.
“Presidential Emergency Powers.” Oxford Analytica Daily Brief. December 18,
      2001.
“An Analysis of the Issue of Issue Ads.” Wisconsin State Journal, November 7,
      1999.
“Background of Issue Ad Controversy.” Wisconsin State Journal, November 7,
      1999.
“Eliminating Public Funding Reduces Election Competition." Wisconsin State
      Journal, June 27, 1999.
Review of Executive Privilege: The Dilemma of Secrecy and Democratic
      Accountability, by Mark J. Rozell. Congress and the Presidency 24 (No. 1,
      1997).
“Like Marriage, New Presidency Starts In Hope.” Wisconsin State Journal. March
      31, 1996.
Review of The Tyranny of the Majority: Fundamental Fairness in Representative
      Democracy, by Lani Guinier. Congress and the Presidency 21: 149-151
      (No. 2, 1994).
Review of The Best Defense: Policy Alternatives for U.S. Nuclear Security From
      the 1950s to the 1990s, by David Goldfischer. Science, Technology, and
      Environmental Politics Newsletter 6 (1994).
Review of The Strategic Defense Initiative, by Edward Reiss. American Political
      Science Review 87:1061-1062 (No. 4, December 1993).

                                      68
    Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 72 of 76




Review of The Political Economy of Defense: Issues and Perspectives, Andrew L.
        Ross ed. Armed Forces and Society 19:460-462 (No. 3, April 1993)
Review of Space Weapons and the Strategic Defense Initiative, by Crockett
        Grabbe. Annals of the American Academy of Political and Social Science
        527: 193-194 (May 1993).
“Limits Wouldn't Solve the Problem.” Wisconsin State Journal, November 5,
        1992. With David T. Canon.
“Convention Ceded Middle Ground.” Wisconsin State Journal, August 23, 1992.
“CBS Economy Poll Meaningless.” Wisconsin State Journal, February 3, 1992.
“It's a Matter of Character: Pentagon Doesn't Need New Laws, it Needs Good
        People.” Los Angeles Times, July 8, 1988.

Conference Papers
“Voter Identification and Nonvoting in Wisconsin – Evidence from the 2016
      Election.” Presented at the 2018 Annual Meeting of the Midwest Political
      Science Association, Chicago, IL April 5-8, 2018. With Michael G.
      DeCrescenzo.
“Learning from Recounts.” Presented at the Workshop on Electoral Integrity, San
      Francisco, CA, August 30, 2017, and at the 2017 Annual Meeting of the
                American Political Science Association, San Francisco, CA,
      August 31-September 3, 2017. With Stephen Ansolabehere, Barry C.
      Burden, and Charles Stewart, III.
“What Happens at the Polling Place: Using Administrative Data to Understand
      Irregularities at the Polls.” Conference on New Research on Election
      Administration and Reform, Massachusetts Institute of Technology,
      Cambridge, MA, June 8, 2015. With Barry C. Burden, David T. Canon,
      Donald P. Moynihan, and Jake R Neiheisel.
 “Election Laws and Partisan Gains: What are the Effects of Early Voting and
      Same Day Registration on the Parties' Vote Shares.” 2013 Annual Meeting
      of the Midwest Political Science Association, Chicago, IL, April 11-14,
      2013. Winner of the Robert H. Durr Award.
“The Effect of Public Funding on Electoral Competition: Evidence from the 2008
      and 2010 Cycles.” Annual Meeting of the American Political Science
      Association, Seattle, WA, September 1-4, 2011. With Amnon Cavari.
“What Happens at the Polling Place: A Preliminary Analysis in the November
      2008 General Election.” Annual Meeting of the American Political Science
      Association, Seattle, WA, September 1-4, 2011. With Barry C. Burden,
      David T. Canon, Donald P. Moynihan, and Jake R. Neiheisel.
“Election Laws, Mobilization, and Turnout: The Unanticipated Consequences of

                                       69
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 73 of 76




      Election Reform.” 2010 Annual Meeting of the American Political Science
      Association, Washington, DC, September 2-5, 2010. With Barry C. Burden,
      David T. Canon, Stéphane Lavertu and Donald P. Moynihan.
“Selection Methods, Partisanship, and the Administration of Elections. Annual
      Meeting of the Midwest Political Science Association, Chicago, IL, April
      22-25, 2010. Revised version presented at the Annual Meeting of the
      European Political Science Association, June 16-19, 2011, Dublin, Ireland.
      With Barry C. Burden, David T. Canon, Stéphane Lavertu and Donald P.
      Moynihan.
“The Effects and Costs of Early Voting, Election Day Registration, and Same Day
      Registration in the 2008 Elections.” Annual Meeting of the American
      Political Science Association, Toronto, Canada, September 3-5, 2009. With
      Barry C. Burden, David T. Canon, and Donald P. Moynihan.
“Comparative Election Administration: Can We Learn Anything From the
      Australian Electoral Commission?” Annual Meeting of the American
      Political Science Association, Chicago, IL, August 29-September 1, 2007.
“Electoral Transitions in Connecticut: Implementation of Public Funding for State
      Legislative Elections.” Annual Meeting of the American Political Science
      Association, Chicago, IL, August 29-September 1, 2007. With Timothy
      Werner.
“Candidate Gender and Participation in Public Campaign Finance Programs.”
      Annual Meeting of the Midwest Political Science Association, Chicago IL,
      April 7-10, 2005. With Timothy Werner.
“Do Public Funding Programs Enhance Electoral Competition?” 4th Annual State
      Politics and Policy Conference,” Akron, OH, April 30-May 1, 2004. With
      Timothy Werner and Amanda Williams.
“The Last 100 Days.” Annual Meeting of the American Political Science
      Association, Philadelphia, PA, August 28-31, 2003. With William Howell.
“Hey, Wait a Minute: The Assumptions Behind the Case for Campaign Finance
      Reform.” Citizens’ Research Foundation Forum on Campaign Finance
      Reform, Institute for Governmental Studies, University of California
      Berkeley. August 2000.
“The Importance of Moving First: Presidential Initiative and Executive Orders.”
      Annual Meeting of the American Political Science Association, San
      Francisco, CA, August 28-September 1, 1996.
“Informational vs. Distributive Theories of Legislative Organization: Committee
      Membership and Defense Policy in the House.” Annual Meeting of the
      American Political Science Association, Washington, DC, September 2-5,
      1993.
“Department of Defense Contracts, Presidential Elections, and the Political-
                                       70
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 74 of 76




      Business Cycle.” Annual Meeting of the American Political Science
      Association, Washington, DC, September 2-5, 1993.
“Problem? What Problem? Congressional Micromanagement of the Department of
      Defense.” Annual Meeting of the American Political Science Association,
      Washington DC, August 29 - September 2, 1991.

Talks and Presentations
“Turnout Effects of Voter ID Laws.” Rice University, March 23, 2018; Wisconsin
       Alumni Association, October 13, 2017. With Michael DeCrescenzo.
“Informational and Turnout Effects of Voter ID Laws.” Wisconsin State Elections
       Commission, December 12, 2017; Dane County Board of Supervisors,
       October 26, 2017. With Michael DeCrescenzo.
“Voter Identification and Nonvoting in Wisconsin, Election 2016. American
       Politics Workshop, University of Wisconsin, Madison, November 24, 2017.
“Gerrymandering: Is There A Way Out?” Marquette University. October 24, 2017.
“What Happens in the Districting Room and What Happens in the Courtroom”
       Geometry of Redistricting Conference, University of Wisconsin-Madison
       October 12, 2017.
“How Do You Know? The Epistemology of White House Knowledge.” Clemson
       University, February 23, 2016.
Roundtable Discussant, Separation of Powers Conference, School of Public and
       International Affairs, University of Georgia, February19-20, 2016.
Campaign Finance Task Force Meeting, Stanford University, February 4, 2016.
Discussant, “The Use of Unilateral Powers.” American Political Science
       Association Annual Meeting, August 28-31, 2014, Washington, DC.
Presenter, “Roundtable on Money and Politics: What do Scholars Know and What
       Do We Need to Know?” American Political Science Association Annual
       Meeting, August 28-September 1, 2013, Chicago, IL.
Presenter, “Roundtable: Evaluating the Obama Presidency.” Midwest Political
       Science Association Annual Meeting, April 11-14, 2012, Chicago, IL.
Panel Participant, “Redistricting in the 2010 Cycle,” Midwest Democracy
       Network,
Speaker, “Redistricting and Election Administration,” Dane County League of
       Women Voters, March 4, 2010.
Keynote Speaker, “Engaging the Electorate: The Dynamics of Politics and
       Participation in 2008.” Foreign Fulbright Enrichment Seminar, Chicago, IL,
       March 2008.
Participant, Election Visitor Program, Australian Electoral Commission, Canberra,
       ACT, Australia. November 2007.

                                       71
     Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 75 of 76




Invited Talk, “Public Funding in State and Local Elections.” Reed College Public
      Policy Lecture Series. Portland, Oregon, March 19, 2007.
Fulbright Distinguished Chair Lecture Tour, 2006. Public lectures on election
      administration and executive power. University of Tasmania, Hobart (TAS);
      Flinders University and University of South Australia, Adelaide (SA);
      University of Melbourne, Melbourne (VIC); University of Western
      Australia, Perth (WA); Griffith University and University of Queensland,
      Brisbane (QLD); Institute for Public Affairs, Sydney (NSW); The Australian
      National University, Canberra (ACT).
Discussant, “Both Ends of the Avenue: Congress and the President Revisited,”
      American Political Science Association Meeting, September 2-5, 2004,
      Chicago, IL.
Presenter, “Researching the Presidency,” Short Course, American Political Science
      Association Meeting, September 2-5, 2004, Chicago, IL.
Discussant, Conference on Presidential Rhetoric, Texas A&M University, College
      Station, TX. February 2004.
Presenter, “Author Meets Author: New Research on the Presidency,” 2004
      Southern Political Science Association Meeting, January 8-11, New
      Orleans, LA.
Chair, “Presidential Secrecy,” American Political Science Association Meeting,
      August 28-31,2003, Philadelphia, PA.
Discussant, “New Looks at Public Approval of Presidents.” Midwest Political
      Science Association Meeting, April 3-6, 2003, Chicago, IL.
Discussant, “Presidential Use of Strategic Tools.” American Political Science
      Association Meeting, August 28-September 1, 2002, Boston, MA.
Chair and Discussant, “Branching Out: Congress and the President.” Midwest
      Political Science Association Meeting, April 19-22, 2001, Chicago, IL.
Invited witness, Committee on the Judiciary, Subcommittee on Commercial and
      Administrative Law, U.S. House of Representatives. Hearing on Executive
      Order and Presidential Power, Washington, DC. March 22, 2001.
“The History of the Executive Order,” Miller Center for Public Affairs, University
      of Virginia (with Griffin Bell and William Howell), January 26, 2001.
Presenter and Discussant, Future Voting Technologies Symposium, Madison, WI
      May 2, 2000.
Moderator, Panel on Electric Utility Reliability. Assembly Staff Leadership
      Development Seminar, Madison, WI. August 11, 1999.
Chair, Panel on “Legal Aspects of the Presidency: Clinton and Beyond.” Midwest
      Political Science Association Meeting, April 15-17, 1999, Chicago, IL.
Session Moderator, National Performance Review Acquisition Working Summit,

                                        72
    Case 2:20-cv-00302-SCJ Document 156-16 Filed 05/16/22 Page 76 of 76




      Milwaukee, WI. June 1995.
American Politics Seminar, The George Washington University, Washington D.C.,
      April 1995.
Invited speaker, Defense and Arms Control Studies Program, Massachusetts
      Institute of Technology, Cambridge, MA, March 1994.
Discussant, International Studies Association (Midwest Chapter) Annual Meeting,
      Chicago IL, October 29-30, 1993.
Seminar on American Politics, Princeton University, January 16-17,1992.
Conference on Defense Downsizing and Economic Conversion, October 4, 1991,
      Harvard University.
Conference on Congress and New Foreign and Defense Policy Challenges, The
      Ohio State University, Columbus OH, September 21-22, 1990, and
      September 19-21, 1991.
Presenter, "A New Look at Short Term Change in Party Identification," 1990
      Meeting of the American Political Science Association, San Francisco, CA.




                                      73
